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                                                                        Paper No. 1


       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
            BEFORE THE PATENT TRIAL and APPEAL BOARD

                                             )
In re Patent of: Adams, et al.               )
                                             )
U.S. Patent No.: 7,546,782                   )     Petition for Inter-Partes Review
                                             )
Issue Date: June 16, 2009                    )
                                             )
Serial No. 11/330,896                        )
                                             )
Filing Date: January 12, 2006                )
                                             )
Title: Cooling Bearings, Motors and Other    )
       Rotating Heat Generating
       Components

Attorney’s Docket No: 6482-019

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Patent Trial and Appeal Board
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PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 7,546,782
         PURSUANT TO 35 U.S.C. §§ 311–319, 37 C.F.R. § 42


      Wavetamer Gyros, LLC (“Petitioner”) petition for Inter Partes Review

under 35 U.S.C. §§ 311-319 and 37 C.F.R § 42 of claims 1-23 of U.S. Patent No.

7,546,782 (the ’782 patent).
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                                     Exhibits


Exhibit
                                        Description
  No.
 1001     U.S. Patent No. 7,546,782 to Adams et al.
 1002     Prosecution History for the ’782 Patent
 1003     Expert Testimony by Dr. Greg Buckner
 1004     Dr. Greg Buckner Curriculum Vitae
          Buckner, Comparing Conductive and Convective Heat Transfer in a
 1005
          Rotating Annular Air Gap
 1006     U.S. Patent No. 6,973,847 to Adams et al., hereafter Adams
 1007     U.S. Patent No. 6,959,756 to Woodard et al., hereafter Woodard
 1008     PCT Publication WO 02/02943 to Woodard et al.
 1009     U.S. Patent Publication No. 2005/0040776 to Sibley, hereafter Sibley
 1010     German Patent No. DE19909491 to Jäger
          Certified Translation and Certification of DE19909491 to Jäger,
 1011
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 1012     U.S. Patent No. 3,844,341 to Bimshas et al. hereafter Bimshas
 1013     U.S. Patent No. 4,304,296 to Shaffer
 1014     U.S. Patent No. 4,800,956 to Hamburgen
 1015     U.S. Patent No. 5,787,976 to Hamburgen et al.
 1016     U.S. Patent No. 4,144,932 to Voigt
 1017     U.S. Statutory Invention Registration No. H312 to Parker
 1018     Western Research Laboratory Research Report to Hamburgen
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I.    Mandatory Notices (37 C.F.R. § 42.8(a)(1))

            A. Real Party-in-Interest (37 C.F.R. § 42.8(b)(1))

      Petitioner Wavetamer Gyros, LLC is the real party-in-interest in this

Petition.

            B. Related Matters (37 C.F.R. § 42.8(b)(2))

      U.S. Patent No. 8,117,930 (the ’930 patent) resulted from a continuation of

the application that issued as the ’782 patent. The ’930 patent, which includes

claims substantially similar to the ’782 patent, is the subject of a pending Inter

Partes Review, filed by Petitioner.

            C. Lead and Back-up Counsel (37 C.F.R. § 42.8(b)(3))

      Lead Counsel                                   Back-up Counsel
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Facsimile: (919) 854-2084                      Facsimile: (919) 854-2084

            D. Service Information

      Service on Petitioner may be made by mail or hand delivery to: David E.

Bennett, COATS & BENNETT, PLLC 1400 Crescent Green, Suite 300, Cary, NC

27518. Petitioners also consent to service by email at

bwoolard@coatsandbennett.com.



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II.    Payment of Fees (37 C.F.R. § 42.103)

       Petitioner pays the fee set forth in 37 C.F.R. § 42.15(a) via EFT Account.

Petitioner authorizes the USPTO to charge any deficiencies, or credit any

overpayment, related to this fee to Deposit Account No. 18-1167.

III.   Requirements for IPR (37 C.F.R. § 42.104)

       A.    Grounds for Standing (37 C.F.R. § 42.104(a))

       Petitioner certifies that the patent for which review is sought is available

for inter partes review, and further certifies that Petitioner is not barred or

estopped from requesting an inter partes review challenging the patent claims on

the grounds identified in this petition.

       B.    Claims Challenged (37 C.F.R. § 42.104(b)(1))

       Petitioner petitions for inter partes review of claims 1-23 of the ’782 patent.

       C.    Specific Statutory Grounds (37 C.F.R. § 42.104(b)(2))

       Ground 1: Claims 1, 3-4, 7 and 9-10 are obvious under 35 U.S.C. §103 over

Jäger in view of common knowledge of a PHOSITA (“Common Knowledge”).

       Ground 2: Claim 8 is obvious over Jäger in view of Common Knowledge

and further in view of Sibley.

       Ground 3: Claims 1-5 and 7-9 are obvious under 35 U.S.C. §103 over

Sibley in view of Jäger and Common Knowledge.




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      Ground 4: Claims 1-5 and 7-9 are obvious under 35 U.S.C. §103 over

Sibley in view of Bimshas and Common Knowledge.

      Ground 5: Claim 6 is obvious under 35 U.S.C. §103 over Sibley in view of

Jäger and Common Knowledge, and further in view of Adams.

      Ground 6: Claim 6 is obvious under 35 U.S.C. §103 over Sibley in view of

Bimshas and Common Knowledge, and further in view of Adams.

      Ground 7: Claims 1-8 and 10 are obvious under 35 U.S.C. §103 over Adams

in view of Sibley and Common Knowledge.

      Ground 8: Claims 4 and 9 are obvious under 35 U.S.C. §103 over Adams in

view of Sibley and Common Knowledge, and further in view of Jäger.

      Ground 9: Claims 4 and 9 are obvious under 35 U.S.C. §103 over Adams in

view of Sibley and Common Knowledge, and further in view of Bimshas.

      Ground 10: Claims 11-23 are obvious under 35 U.S.C. §103 over Adams in

view of Sibley, Bimshas, and Common Knowledge.

      Ground 11: Claims 11-18, and 20-23 are obvious under 35 U.S.C. §103

over Adams in view of Jäger and Common Knowledge, and further in view of

Bimshas.

      Ground 12: Claims 11-16, 18, 20 and 22-23 are obvious under 35 U.S.C.

§103 over Woodard in view of Bimshas and Common Knowledge.




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      Ground 13: Claims 16-17 and 21 is obvious under 35 U.S.C. §103 over

Woodard in view of Bimshas and Common Knowledge, and further in view of

Adams.

      Ground 14: Claim 19 is obvious under 35 U.S.C. §103 over Woodard in

view of Bimshas and Common Knowledge, and further in view of Sibley.

IV.   The ’782 Patent

      A.     Subject Matter of ’782 Patent, Filed Jan. 12, 2006

      The ’782 patent relates generally to flywheel devices and, more particularly,

to a heat transfer assembly for cooling or dissipating heat from the bearings of a

flywheel device. Exhibit 1001, col. 1, ll. 7-10. The specification of the ’782 patent

teaches a particular application of the heat transfer device in the context of a

control moment gyroscope (CMG) used for roll attenuation in boats, i.e., a boat

stabilizer, but explains that embodiments are applicable to cooling bearings in

flywheel energy storage devices. Col. 5, ll. 29-37.

      The background of the ’782 patent identifies overheating of bearings as a

problem in flywheel devices such as boat stabilizers and energy storage flywheels.

Exhibit 1001, col. 1, ll. 14-30. Flywheels for CMGs and energy storage devices

are often contained within a vacuum environment to reduce aerodynamic drag on

the flywheel. Id. In this case, conventional air cooling methods cannot be used to

cool the bearings supporting the flywheel. Id.


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      The heat transfer assembly as shown in Figures 1-3 of the ’782 patent is

designed to work in a vacuum environment. Exhibit 1001, col. 1, ll. 7-10. The

heat transfer assembly includes two sets of interleaved fins 62, 66 for conducting

heat away from the bearings. The first set of fins 66 rotates with the flywheel and

the second set of fins 62 is fixed relative to the housing. Col. 6, l. 39-col. 7, l. 5.

The interleaved fins 62, 66 are closely spaced to allow heat transfer from the first

set of fins to the second set of fins by both gaseous convection and gaseous

conduction. Id. The enclosure is preferably maintained at below-ambient pressure

and contains a below-ambient density gas (e.g., helium or hydrogen). Col. 6, ll.

25-29.

      B.     Claim Construction (37 C.F.R. § 42.104(b)(3))

      In inter partes review proceedings, claims are given their broadest

reasonable interpretation in light of the claims and specification. Corning Optical

Commc’ns RF, LLC v. PPC Broadband, Inc., IPR2013-00340, Paper 89, p. 4,

(PTAB Nov. 16, 2016) (summarizing the findings of the Federal Court in

remanding the inter partes review); see also 37 C.F.R. § 42.100(b).

      1.     Construction of “Adjacent”

      The ordinary meaning of the term “adjacent” is “close to; lying near” or next

to; adjoining.” Adjacent, The American Heritage Dictionary,

https://ahdictionary.com/ (last visited Mar. 8, 2017). The term “adjacent” is used


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to convey the idea that two items are next to one another or adjoin one another.

This is the narrowest meaning of adjacent. The term “adjacent” is often used to

mean that two items are near or close to one another, which is the broadest

reasonable construction and is consistent with the usage of the term adjacent in the

specification and claims of the ’782 patent.

      2.     Construction of “Vane”

      Vane as used in the context of the claims and specification should be

construed to mean a fin. The term “vane” is used in the context of the claims and

specification as part of a cooling apparatus for transferring heat from and cooling

heat generating component(s). The use of the term “vane” is synonymous with the

term “fin” defined as “a projecting vane used for cooling.” Fin, The American

Heritage Dictionary, https://ahdictionary.com/ (last visited Mar. 8 2017). This is

consistent with the prosecution history in which the Patent Office considered the

term “vane” to be synonymous with a “fin or projection”. See Exhibit 1002,

Prosecution History, pp. 26, 57.

      3.     Construction of “primarily by conduction”

      The ordinary meaning of the term “primarily” is “for the most part; mainly.”

Abate, Frank, and Elizabeth J. Jewell, "Primarily" Def. 1. The New Oxford

American Dictionary. New York: Oxford UP, 2001. The phrase “primarily by

conduction” therefore means mainly by conduction. In other words, the term


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“primarily” requires only that conduction be the main mode of heat transfer, i.e.,

more than any other heat transfer mode.

      C.     Level of Ordinary Skill in the Art

      The issue of obviousness is determined with reference to a person having

ordinary skill in the art (PHOSITA). The prior art indicates the level of ordinary

skill in the art. Chore-Time Equip., Inc. v. Cumberland Corp., 713 F.2d 774 (Fed.

Cir. 1983). A person having ordinary skill in the art to which the invention

pertains would have a bachelor of science degree in mechanical engineering with

several years’ experience in the design of flywheel devices. Exhibit 1003, ¶14.

V.    Common Knowledge and Art Prior to Jan. 12, 2006

      A.     Common Knowledge

      Heat transfer occurs when a temperature differential exists within a medium

or between media. Due to the Second Law of Thermodynamics, heat travels in the

direction from the warmer media to the cooler media. There are three basic modes

of heat transfer in a partial vacuum: conduction, convection, and radiation. The

heat transfer mechanisms are natural phenomena presumed to be known to a

PHOSITA. Exhibit 1003, ¶15.

      Conduction occurs when a temperature differential exists in a stationary

medium. The stationary medium may be solid, fluid, or gas. Heat transfer by

conduction is due to the random movement of and collisions between molecules in


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the stationary medium. When two molecules collide, energy is transferred from

the molecule with higher energy to the molecule with lower energy. Convection

refers to heat transfer between a fluid (liquid or gas) moving relative to a surface,

when the two are at different temperatures. Id.

      Convection is comprised of two distinct mechanisms: energy transfer due to

the random motion of molecules (conduction) and energy transfer associated with

the relative bulk movement of the fluid (advection). Id. Convection is sometimes

used to refer only to the advection component when distinguished from

conduction. See Exhibit 1001, col. 1, ll. 39-51 (distinguishing conduction from

convection by defining convection by referring only to the advection component).

      Heat transfer by radiation occurs when the thermal emissions of matter are

transported across space by electromagnetic waves. Heat transfer by radiation is

dependent on the temperature differential between surfaces. Exhibit 1003, ¶15.

      Thermal conductivity is a material property describing its ability to conduct

heat. The thermal conductivity of gases is dependent on factors such as

temperature and pressure. Gases of higher thermal conductivity have a greater

capacity to transfer heat. For example, at atmospheric pressure and 25°C, air has a

conductivity of 0.026W/mK, hydrogen has a conductivity of 0.182W/mk, and

helium has a greater conductivity of 0.151W/mK. Exhibit 1003, ¶16.




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      A heat sink is a device that transfers thermal energy from a higher

temperature medium to a lower temperature medium. A heat sink may employ any

or multiple modes of heat transfer: conduction, convention, and radiation. The rate

at which heat is transferred depends upon the temperature gradient and the surface

area across which the heat is transferred. Heat sinks are commonly provided with

cooling fins to increase the surface area over which heat is transferred, and thus

increase the rate of heat transfer. It is common practice to cool the fins of a heat

sink with a moving liquid or gas (e.g., air). Exhibit 1003, ¶17.

      Interleaved fin thermal connectors are well-known tools to a PHOSITA to

apply these same principles to transfer heat between closely spaced surfaces. In

interleaved fin thermal connectors, cooling fins extend from two surfaces to form

an array of interleaved fins. The convoluted interface between the interleaved fins

provides a much larger surface area than the original planar surfaces to greatly

enhance heat transfer. The interleaved fins may be designed to translate linearly

relative to one another, or to rotate relative to one another. Exhibits 1008 – 1020

show various interleaved fin thermal connectors. Exhibit 1003, ¶18.

      Interleaved fin thermal connectors can be used in partial vacuums. See

Exhibits 1008, 1016, and 1021. The term “partial vacuum” is used to describe

vacuums that include some gaseous material, but the gas is held at pressure below

atmospheric pressure (760 Torr). Exhibit 1003, ¶19. As noted in the ’782 patent,


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heat transfer occurs in a partial vacuum. Col. 2, ll. 5-16. In partial vacuums, heat

transfer by gaseous conduction is largely unaffected until a vacuum pressure of

approximately 1 Torr is reached. Exhibit 1003, ¶19.

      B.     Gyroscopic Roll Stabilizers

      A gyroscopic roll stabilizer comprises a flywheel mounted in a gimbal that is

attached to the hull of a boat. When the flywheel is rotated at high speeds, the

angular momentum of the flywheel causes the flywheel to rotate or precess about

the gimbal axis. By controlling the precession rate, a torque may be created to

dampen or suppress the rolling motion of the boat.

      Gyroscopic roll stabilizers have been in use for over 100 years. For

example, early gyroscopic roll stabilizers are disclosed in U.S. Patent No. 796,893

to Brennan (Exhibit 1028) and U.S. Patent No. 1,150,311 to Elmer Sperry (Exhibit

1029). More recent roll stabilizers are shown in U.S. Patent No. 5,628,267 to

Hoshio (Exhibit 1030).

      C.     Exhibit 1006, U.S. Patent No. 6,973,847 to Adams et al., Issued
             December 13, 2005

      Adams discloses a gyroscopic roll stabilizer for a boat. Adams, Abstract.

Figure 5 of the ’847 patent reproduced below shows main components of the

gyroscopic roll stabilizer.




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                                 ’847 Patent, Fig. 5

      The gyroscopic roll stabilizer in Adams includes a flywheel 16, shaft 18,

spin motor 24, and bearings 20 (heat generating elements). Col. 6, ll. 41-49; Figs.

5-6. An enclosure 30 surrounds the flywheel 16, shaft 18, bearings 20, and spin

motor 24. Id. The enclosure maintains a below-ambient pressure and/or includes a

below ambient density gas (e.g., helium) to reduce aerodynamic drag. Adams, col.

6, l. 57-col. 7, l. 2. Adams also discloses that “[p]rovision for cooling the flywheel

bearings may be necessary at very high tip speeds.” Col. 7, ll. 21-30. Adams,

however, does not disclose any details of the bearing cooling device.




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      D.     Exhibit 1007, U.S. Patent No. 6,959,756 to Woodard et al., Issued
             November 1, 2005

      Woodard discloses a flywheel energy storage system. Woodard, Col. 19, ll.

24-28. The flywheel energy storage system includes an enclosure maintained

under vacuum to reduce aerodynamic drag on the flywheel. Id. at ll. 33-38.

Woodard recognizes the problem of bearing heating and describes a cooling device

that is intended to work in a vacuum. Col. 1, ll. 9-12. Describing the bearing

heating problem, Woodard states:

      The typical flywheel assembly 104 includes a flywheel, a shaft to
      which is secured the flywheel and one or more bearings or bearing
      assemblies that rotatably support the shaft. … Because the rotatable
      supporting of the rotating flywheel results in the production of heat
      energy in the bearings or bearing assemblies, the operational life of
      the flywheel assembly 104 as well as the operational life of the
      flywheel energy storage system 100 is dependent in part upon the
      ability of the flywheel energy storage system to dissipate heat energy
      developed in the bearings or bearing assemblies.

Woodard, Col. 1, ll. 42-58.

      Woodard also describes several known solutions for cooling bearings in a

flywheel assembly. Woodard, col. 1, l. 53-col. 2, l. 4.




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      Woodard’s approach to heat dissipation allows for some relative radial and

axial movement of the heat transfer components. Describing in general how his

heat transfer assembly 200 works, Woodard states:

      The present invention features a heat transferring device that dissipate
      [sic] heat energy being generated by a device that produces or
      generates unusable heat energy during operation such as a bearing(s),
      more particularly the one or more bearing assemblies of a flywheel
      energy storage system being under a vacuum environment. Such a
      heat transferring device is advantageously configured and arranged so
      that at least some of the heat energy of the heat generating device or
      bearing is communicated directly from the locus of the bearing or heat
      generating device directly to a heat sink structure remote from the
      locus of the bearing or heat generating device.

Woodard, col. 2, ll. 30-41 (emphasis added).

      The heat transfer assembly 200 in Woodard is shown in Figure 8 reproduced

below.




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                                  Woodard, Fig. 8

      The heat transfer assembly 200 includes a first conductive member (i.e.,

inner member 202) thermally coupled to the flywheel bearings (e.g., bearings 604,

606), and a second conductive member (i.e., outer member 204) thermally coupled

to a heat sink (e.g., housing 602, not shown in Fig. 8, for the energy storage

flywheel). Woodard, col. 7, ll. 44-46, 65-col. 8, l. 16; Figs. 6, 8. Third conductive

members 206 transfer heat from the inner member to the outer member. Id. The

third conductive members are described as being flexible to allow for some relative

radial and axial movement between the inner member and outer member. Col. 4,

ll. 29-32. The entire assembly is contained within an enclosure that maintains a

vacuum within the enclosure. Col. 19, ll. 25-28.




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      E.     Exhibit 1009, U.S. Patent Publication No. 2005/0040776 to Sibley,
             Published February 24, 2005

      Sibley discloses a flywheel energy storage system. Sibley, Abstract. Figure

4 of Sibley is reproduced below.




                                       Sibley, Fig. 4

      Sibley’s flywheel energy storage system includes a flywheel 412, motor 414,

and shaft 416 enclosed within a vacuum enclosure 418. Sibley, [0129-0134];

Fig. 4. The energy storage system further includes a bearing assembly 436

including an inner ring 446, an outer ring 444, and a plurality of bearing balls 442.

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Sibley, [0134]. Sibley explains that if the bearings overheat due to bearing

friction, the bearings will self-destruct during operation. Sibley, [0011].

      The shaft 416 in Sibley is provided with cooling fins 438 to dissipate heat

that builds up due to bearing friction. Sibley, [0142], Fig. 4; see also Fig. 24,

[0177] (cooling fins 703). Fins 438 extend radially from the shaft 416 and rotate

with the shaft 416. Id. Stationary heat transfer fins 440 are integrally formed with

the vacuum enclosure 448. Id. The rotating fins 438 and stationary fins 440 are

interleaved. Id. In the cooling device described by Sibley, heat flows by solid

conduction from the inner race of the bearings and rotating shaft 416 to the rotating

fins 438, across the gap between the rotating fins 438 and to the stationary fins

440, and by solid conduction from the stationary fins 440 to the exterior of the

enclosure 418. Sibley, [0141-0144].

      F.     Exhibit 1010, German Patent No. DE19909491 to Jäger,
             Published September 7, 2000

      German patent DE 19909491 to Jäger discloses a cooling device for cooling

a rotatably mounted shaft. Jäger, Col. 1, ll. 5-6. The shaft is rotatably journaled in

bearings that include an inner race and an outer race. Fig. 1 (as shown below). As

described by Jäger, bearing friction causes heat buildup in the inner race and in the

rotating shaft. Col. 4, ll. 4-11. Jäger discloses a cooling device for dissipating heat

generated by bearings. Id.



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                                       Jäger, Figure 1

      The cooling device in Jäger comprises two thermally conductive members or

heat sinks that rotate relative to one another. Jäger, col. 1, ll. 26-35; Fig. 1. The

inner heat sink 6 is attached to the rotating shaft 3 and includes a first set of



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equally-spaced cooling fins 9. Col. 2, l. 51-col. 3, l. 12. The cooling fins are in the

form of flat, planar discs that extend radially outward from the outer surface of the

first cooling body. Id. The outer heat sink 7 is connected to the housing 1

surrounding the rotating shaft 3 and includes equally-spaced cooling fins 12, 13

that extend radially inward towards the shaft. Col. 3, ll. 16-22. The fins on the

heat sinks are staggered relative to one another and interleaved. Id. at 22-30. The

space between the fins is filled “with air or another gas.” Col. 1, ll. 33-35.

      G.     Exhibit 1012, U.S. Patent No. 3,844,341 to Bimshas et al., Issued
             October 29, 1974

      Bimshas discloses a rotatable heat transfer device 10 with interleaved fins

12, 16 for transferring heat from a heat source to a relatively rotating heat sink

without the use of blowers. Bimshas, col. 1, ll. 29-31. Bimshas indicates that the

heat transfer device 10 can be used in inertial guidance system to transfer heat

between relatively rotating gimbals. Id. at ll. 22-26.

      Figure 1 of Bimshas is reproduced below.




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                                  Bimshas, Fig. 1,

      In Bimshas, first and second thermally conductive members 10, 14 are

mounted for relative rotation. Col. 2, ll. 31-36; Fig. 1. The first member 10

connects to a heat source (not shown), which may be any component that generates

heat. Id. at ll. 5-8. First member 10 includes a first set of equally spaced fins 12.

Id. at ll. 8-10. The second member 14 connects to a heat sink (not shown) and

includes a second set of equally spaced fins 16. Id. at ll. 11-13. The fins 16 are

interleaved so that the fins 16 on the second member extend into the gaps between

the fins 12 on the first member 10, and vice versa. Id. at ll. 13-16. The spacing

between the fins is between 0.005-0.007 inches (or 0.127mm-0.178mm). Id. at ll.

24-26. Bimshas teaches that the space between the fins may be filled with a

thermally conductive gas such as helium to reduce thermal impedance. Col. 3, ll.

22-24.


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       In the embodiment shown in Figure 1, the fins 12 and 16 are in the form of

concentric cylinders extending in a direction parallel to the axis of relative rotation.

Bimshas, col. 1, ll. 37-39. In other embodiments, the fins 12, 16 are in the form of

flat, annular disks extending in a direction perpendicular to the rotational axis. Id.

at ll. 40-50; Fig. 2.




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VI.   Grounds 1 and 2

      The Claim Chart Appendix (Section XII) provides a claim mapping of all

the elements of claims 1, 3-4, 7-10 in accordance with Grounds 1 and 2.

      A.     Claim 1 is obvious over Jäger in view of Common Knowledge
             (Ground 1)

      Jäger explicitly or implicitly discloses all of the limitations of claim 1,

except the limitation that the gas between the interleaved fins is “at below ambient

pressure or below ambient density.” Jäger discloses an enclosure (housing 1) filled

with air “or another gas,” first plurality of vanes (fins 9) attached to a spinning

member (rotating shaft 3), a second plurality of vanes (cooling fins 12, 13) fixed

relative to the housing 1, and heat generating components (bearings 4, 5)

supporting the shaft 3. The first set of fins 9 rotate with the shaft 3 relative to the

housing 1. The second set of fins 12, 13 define gaps into which the first set of fins

9 extend so that the first set of fins 9 and second set of fins 12, 13 are interleaved.

The first set of fins 9 and second set of fins 12, 13 are located adjacent the bearings

4, 5 that support the rotating shaft 3. The bearings 4, 5 include an inner race

attached to the rotating shaft 3 so as to rotate with the rotating shaft 3, and an outer

race attached to the housing 1.

      The cooling device in Jäger is configured so that heat is transferred from the

bearings 4, 5 to the outside of the housing 1. Heat flows by solid conduction from



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the inner race of the bearings 4, 5 and rotating shaft 3 to the first set of fins 9,

through a gaseous medium from the first set of fins 9 to the second set of fins 12,

13, and by solid conduction from the second set of fins 12, 13 to the exterior of the

housing 1. Jäger explicitly discloses that air “or another gas” fills the space

between the interleaved fins to enable gaseous conduction and convection.

Abstract. Jäger explains:

             The cooling device according to the invention enables efficient
             cooling of the shaft by generating a heat flux in the direction of
             the heat sink on the side of the body, which is based both on
             radiation and on heat transfer carried out through gas that
             is located between the cooling bodies.

      Because the fins are closely spaced to enable heat transfer and the relative

motion of the fins would necessarily cause bulk movement of the air or gas, heat

would necessarily be transferred by both gaseous conduction and gaseous

convection. Exhibit 1003, ¶28.

      Jäger does not explicitly disclose that the housing 1 contains “a gas at below

ambient pressure or below ambient density.” However, Jäger does state that the

housing 1 may contain air “or another gas.” Because the purpose of the cooling

device in Jäger is to create a heat flux in the direction of the housing 1, a

PHOSITA would likely consider other gases that improve thermal conduction.

Exhibit 1003, ¶28.


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      It is well-known that both hydrogen and helium are below-ambient density

gases with significantly higher thermal conductivity than air. Exhibit 1003, ¶16.

Therefore, a PHOSITA would be motivated to use hydrogen or helium as the gas

between the fins to improve heat conduction and convection. Using hydrogen or

helium would also reduce aerodynamic drag, providing another reason for

replacing air with hydrogen or helium.

      B.     Claims 3-4, 7, and 9-10 are obvious over Jäger in view of Common
             Knowledge (Ground 1)

      Claim 3 recites that “first and second vanes have closely spaced exposed

surfaces across which heat is transferred.” Claims 4 recites that “the separation

between the first vanes and the second vanes is greater than 0.025 mm but less than

10 mm.” Jäger discloses that the fins are spaced close enough so that heat is

transferred from the first fins to the second fins, which is “closely spaced” as

recited in claim 3 under the broadest reasonable construction of the term. Jäger

further discloses interleaved heat transfer fins with a gap between 0.1-0.2 mm,

within the range recited in claim 4. Selecting the dimension of the gap between the

fins would involve only routine skill to optimize a known result-dependent

variable. Exhibit 1003, ¶34. Accordingly, claims 3 and 4 are obvious over Jäger

in view of common knowledge.




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      Claim 7 recites “a heat sink to which heat flows from the second vanes.”

Jäger discloses a sleeve 10 that functions as a heat sink. Heat is transferred by the

second fins 12, 13 to the sleeve 10 and from the sleeve 10 to the outside of the

housing 1. A cooling gas or cooling fluid may cool the outer surface of the heat

sink/sleeve 10 and carry the heat to the outside of the housing.

      Claim 9 recites that “the gas has a molecular mean free path equal to or less

than the distance between the first and second vanes.” Under normal flywheel

operating conditions, the mean free path of air is between 0.000068 mm (at 25Û&

7RUU DQGPP DWÛ&7RUU Exhibit 1003, ¶42. These values are

well below the maximum gap size of 10 mm, and well below the gap size disclosed

in Jäger.

      Also, it is generally known that the viscosity of a moving fluid confined in

the gap between two cylinders is affected by the mean free path. Id. A mean free

path exceeding the distance between the cylinders would greatly increase

kinematic viscosity and reduce heat transfer. Exhibit 1003, ¶42 (citing Exhibit

1008, p. 23, ll. 3-9 (explaining that to be insulating, the molecules must generally

be able to traverse a gap without colliding into one another, which occurs when the

mean free path of the gas molecules is greater than or equal to the distance between

surfaces of the gap). This is consistent with the description in the background of

the ’782 patent noting that heat conduction is reduced at low pressures when the


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mean free path of the gas exceeds that distance between the surfaces. ’782 Patent,

col. 2, ll. 5-16. Therefore, a person designing an interleaved fin cooling device

would select parameters such as fin spacing, gas type, and operating pressure so

that the mean free path of the gas is less than the fin spacing to improve heat

transfer. Exhibit 1003, ¶42.

      Claim 10 recites that the gas in the enclosure has a higher thermal

conductivity than air. Jäger discloses that air “or another gas” occupies the space

between the first set of fins 9 and the set of fins 12, 13. As noted above, both

helium and hydrogen are below-ambient density gases and have higher thermal

conductivity than air. Exhibit 1003, ¶16. Therefore, for the reasons set forth in

Section VI.A, it would be obvious to use hydrogen or helium gas in Jäger to

increase heat conduction.

      C.     Claim 8 is obvious in view of Jäger and Common Knowledge and
             further in view of Sibley (Ground 2)

      Claim 8 recites that “the heat sink comprises air-cooled fins on the exterior

of the enclosure.” Sibley discloses air-cooled fins on the exterior of an enclosure

to increase heat transfer. It would be obvious to have air-cooled fins on the

exterior of the housing 1 in Jäger as taught by Sibley in place of liquid cooling to

dissipate heat from the sleeve 10. Using air-cooled fins in place of liquid cooling

is nothing more than the substitution of one known equivalent for another. Further,



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a PHOSITA would recognize that having air-cooled fins on the exterior of the

housing would increase heat dissipation from the exterior of the housing. Exhibit

1003, ¶37.




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VII. Grounds 3-6

      The Claim Chart Appendix (Section XII) provides a claim mapping of all

the elements of claims 1-10 in accordance with Grounds 3-6.

      A.     Claim 1 is obvious in view of Sibley in View of Jäger or Bimshas
             and Further In View of Common Knowledge (Grounds 3 and 4).

      Sibley discloses all of the limitations of claim 1, except for the limitations

regarding the mode of heat transfer between the interleaved fins. Sibley discloses

a spinning member (flywheel assembly 412, 416) within an enclosure (enclosure

418) containing a gas at “high vacuum,” a first plurality of vanes (cooling fins 438)

attached to the flywheel assembly 412, 416, a second plurality of vanes (cooling

fins 440) fixed relative to the enclosure 418, and heat generating components

(bearings 436) supporting the flywheel assembly 412, 416. The first set of fins 438

rotate with the flywheel assembly 412, 416 relative to the enclosure 418. The

second set of fins 440 define gaps into which the first set of fins 438 extend so that

the first set of fins 438 and second set of fins 440 are interleaved. Sibley, [0129-

0134]; [0142-0144]; Fig. 4.

      The first set of fins 438 and second set of fins 440 are located adjacent the

bearing assembly 436 that supports the flywheel assembly 412. The fins 348, 440

are close enough so that heat is transferred from the bearings 436 to the cooling

fins 438, 440, which under the broadest reasonable construction is adjacent the



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bearings 436. The bearings 436 include an inner ring or race attached to the

flywheel assembly 412 to rotate with the flywheel assembly 412, and an outer race

fixed relative to the enclosure 418. Heat flows by solid conduction from the inner

race of the bearings 436 and shaft 416 to the first set of fins 438, across the gap

from the first set of fins 438 to the second set of fins 440, and by solid conduction

from the second set of fins 440 to the exterior of the enclosure 418.

      Sibley notes that heat is transferred between the first set of fins 438 and the

second set of fins 440 by radiation. Sibley is silent about other modes of heat

transfer in its high vacuum environment. [0133]. At high vacuum, some gas is

present in the gaps between the first set of fins 438 and the second set of fins 440.

Exhibit 1003, ¶21. Because gas is present, heat transfer by gaseous conduction

naturally occurs. Id.

      It would be obvious to a PHOSITA designing a system with interleaved fins

as taught by Sibley to consider the design of other interleaved-fin thermal

connectors in selecting parameters such as fin spacing, gas type, and operating

pressure. Exhibit 1003, ¶22. Jäger and Bimshas are related to the design of

interleaved fin thermal connectors for transferring heat away from a heat

generating component. Jäger explicitly discloses that air “or another gas” fills the

space between the interleaved fins to enable gaseous conduction and convection.

Abstract. Jäger explains:


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             The cooling device according to the invention enables efficient
             cooling of the shaft by generating a heat flux in the direction of
             the heat sink on the side of the body, which is based both on
             radiation and on heat transfer carried out through gas that
             is located between the cooling bodies. The heat transfer is in
             this case aided by the rotation of the first heat sink on the side
             of the shaft and by the strong turbulence created in this manner
             of the gas located between the cooling bodies. In addition to
             the radiation, only the gas that is present in the housing is
             required for the heat transport.

      Bimshas also explicitly discloses that a thermally efficient gas such as

helium may be used in the space between interleaved fins to improve gaseous

conduction. Implicitly, the reason for using a thermally efficient gas is to increase

gaseous conduction and convection. Therefore, it would be obvious to use air or

helium in the air gap between the interleaved fins 438, 440 in Sibley to provide for

heat transfer by gaseous conduction and gaseous convection as taught by Jäger and

Bimshas. Exhibit 1003, ¶22. The reason for doing so is that radiation can achieve

only a very small amount of heat transfer due to a low temperature differential and

relatively small surface areas on the fins, which by itself may be insufficient to

keep the bearings cool. Id. In comparison to radiation, significantly more heat can

be transferred by gaseous conduction and gaseous convection. Id.




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      Accordingly, claim 1 is obvious over Sibley in view of Jäger or Bimshas and

further in view of Common Knowledge.

      B.     Claims 2-5 and 7- 9 are obvious over Sibley in view of Jäger or
             Bimshas, and further in view of Common Knowledge (Grounds 3
             and 4).

      Claim 2 recites that the “heat transfer between the first and second vanes is

primarily by gaseous conduction.” This limitation simply describes the most

obvious, and perhaps the only, solution to the problem of transferring heat away

from a bearing in a partial vacuum environment.

      Operation of the flywheel in a partial vacuum environment is desirable or

necessary to reduce aerodynamic drag. Exhibit 1003, ¶¶11, 23. At the pressure

ranges needed to significantly reduce aerodynamic drag, there is likely to be only

small amounts of heat transfer by advection and radiation. Exhibit 1003, ¶¶23, 39-

41. As noted in the ’782 patent, in a vacuum “convective cooling with air becomes

more difficult because of the reduced pressure, and radiant heat transfer may be

negligible because the temperature differentials may not be large enough to

transfer a significant amount [of heat].” Col. 4, ll. 27-32. For a practical flywheel

device where heat transfer between interleaved fins is an important design

objective, the heat transfer will be primarily by gaseous conduction because 1)

advection diminishes rapidly at pressures lower than 1 atmosphere (760 Torr); and

2) only a small amount of heat can be transferred by radiation due to the limited


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surface area of the fins and the relatively low temperature differential at desired

operating temperatures. Exhibit 1003, ¶23. In comparison to radiation,

significantly more heat transfer can be achieved by gaseous conduction. Exhibit

1003, ¶22.

      Therefore, reliance on gaseous conduction to get significant heat transfer is

almost certainly necessary. Reliance on gaseous conduction is not simply one of

several ways of transferring heat, but rather is the only practical way to transfer

significant amount of heat in a partial vacuum.

      In proceedings before the European Patent Office for a corresponding EP

application, the Patent Owner admitted that neither gaseous convection nor

radiation provided a suitable mechanism for heat transfer in a partial vacuum,

leaving gaseous conduction as the only practical solution. See Exhibit 1036

(including an EPO office action, Patent Owner response, and published EP

application). The EPO cited the Jäger reference in rejecting the claims in the

corresponding EP application in an opinion issued January 2, 2013. Id. at pp. 1, 4.

The Applicant amended the pending claim in response to recite that heat transfer

between the fins occurred by gaseous conduction. Id. at pp. 8, 16-21.

Distinguishing the claimed invention, the Patent Owner argued that Jäger and

another cited reference EP 1,193,837 relied on heat transfer by gaseous convection,




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rather than gaseous conduction, “which is not compatible with providing a partial

vacuum.” Id. at p. 9 (emphasis original). The Patent Owner further argued that:

      The amount of heat that can be removed from a rotating shaft by
      radiation using interleaved fins is low. Radiant heat transfer relies on
      a large temperature differential and/or a large surface area neither of
      which is desirable in the rotating machine arrangements of the present
      invention. The rotating and stationary components should not operate
      at the required high temperature differentials because of the adverse
      effects on lubricant life and thermal expansions. The necessary fins
      surface area cannot be incorporated in the machine to allow the
      rotating and stationary components to operate at low temperature
      differentials.

      Patent Owner’s admissions in the proceedings before the European

Patent Office show that gaseous conduction is, for most practical purposes,

required to get significant heat transfer between interleaved fins in a partial

vacuum.

      Use of a partial vacuum environment involves a known tradeoff between

two competing design criteria in flywheel systems: reductions in aerodynamic drag

at lower gas pressures are accompanied by reductions in heat transfer by gaseous

conduction and convection. Exhibit 1003, ¶23. If effective heat transfer is an

important design objective as suggested by Sibley, this tradeoff may be addressed

by reducing pressure to achieve a significant reduction in aerodynamic drag while


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maintaining sufficient pressure for gaseous conduction and convection. Id.

Significant reduction in aerodynamic drag can be achieved with slight reduction in

pressure (e.g., from atmospheric pressure, 760 Torr, to .01 Torr) while maintaining

significant gaseous conduction. Id. In the range of .076 to 76 Torr, heat transfer

would be primarily by gaseous conduction. Exhibit 1003, ¶¶39-41.

       Petitioner’s expert, Dr. Buckner, has conducted simulations to analyze heat

transfer across a viscous fluid confined in a gap between two relatively rotating

cylinders using a Taylor-Couette flow model. Id.; Exhibit 1005. His analysis

shows that in the range of 7.6 Torr-0.076 Torr, a range where flywheel devices are

likely to operate, gaseous conduction will be the dominant mode of heat transfer.

Exhibit 1005, pp. 2, 6-7. This range encompasses preferred operating pressure

disclosed in the ’782 patent, and in the Patent Owner’s own prior patent (the ’847

patent). Col. 7, ll. 6-8; col. 4, ll. 23-31.

       While further reductions in aerodynamic drag could be achieved at even

lower pressures, this benefit would be offset by significantly reduced heat transfer.

Exhibit 1003, ¶23. Such solutions are not likely to be considered by a PHOSITA

designing a system to transfer heat as in Sibley.

       Balancing the tradeoff to address Sibley’s objectives of reducing

aerodynamic drag losses and enhancing cooling of the bearings and motor is the

type of routine design optimization task within the skill level of a PHOSITA. Id.,


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see In re Aller, 220 F.2d 454, 456, 105 USPQ 233, 235 (CCPA 1955) (“[W]here

the general conditions of a claim are disclosed in the prior art, it is not inventive to

discover the optimum or workable ranges by routine experimentation.”). In

balancing this trade-off, a PHOSTA would be hard pressed to create and design a

flywheel device that achieved both significant reductions in aerodynamic drag and

significant heat transfer without relying on gaseous conduction as the primary

mode of heat transfer. Accordingly, the subject matter of claim 2 is obvious to a

PHOSITA.

      Claim 3 recites that “first and second vanes have closely spaced exposed

surfaces across which heat is transferred.” Claims 4 recites that “the separation

between the first vanes and the second vanes is greater than 0.025 mm but less than

10 mm.” Sibley discloses that the fins are spaced close enough so that heat is

transferred from the first fins 438 to the second fins 440, which are “closely

spaced” as recited in claim 3 under the broadest reasonable construction of the

term. Sibley does not disclose the dimensions of the gap. Bimshas and Jäger both

expressly disclose an interleaved fin structure with spacing squarely within the

range recited in claim 4. Jäger discloses interleaved heat transfer fins with a gap

between 0.1-0.2 mm. Col. 3, ll. 22-30. Bimshas discloses interleaved heat transfer

fins with a gap between .005 (.127 mm) to .007 (.178 mm) inches. Col. 2, ll. 23 –

26. Thus, it would be obvious to use the fin spacing of Jäger or Bimshas in the


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Sibley fin structure to enhance heat transfer. Selecting the dimension of the gap

between the fins to optimize the amount of heat transfer according to design

objectives would involve only routine skill to optimize a known result-dependent

variable. Exhibit 1003, ¶34.

      Claim 5 depends from claim 1 and further recites that “the gas is both below

ambient pressure and below ambient density.” Sibley explicitly discloses that the

enclosure is maintained at below-ambient pressure. Jäger discloses that the

enclosure contains air or another gas. Col. 1, ll. 33-35. As noted above, a

PHOSITA would be motivated to use below-ambient density gases such as helium

or hydrogen within the enclosure to reduce aerodynamic drag and increase heat

transfer by gaseous conduction. Bimshas explicitly discloses use of helium to fill

the gap between the interleaved heat transfer fins. Col. 3, ll. 22-24. Accordingly,

claim 5 is obvious over Sibley in view of Jäger or Bimshas and further in view of

Common Knowledge.

      Claim 7 depends from claim 1 and further recites “a heat sink to which heat

flows from the second vanes.” Claim 8 depends from claim 7 and recites that “the

heat sink comprises air-cooled fins on the exterior of the enclosure.” Sibley

discloses that heat is transferred from the second set of fins 440 to the enclosure,

which functions as a heat sink as recited in claim 7. Sibley further discloses that

the enclosure 418 includes air-cooled fins as recited in claim 8 to dissipate heat to


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the ambient air. Accordingly, claims 7 and 8 are obvious over Sibley in view of

Jäger or Bimshas and further in view of Common Knowledge.

      Claim 9 recites that “the gas has a molecular mean free path equal to or less

than the distance between the first and second vanes.” Under operating conditions

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7RUU DQGPP DWÛ&Torr). Exhibit 1003, ¶42. These values are well

below the maximum gap size of 10 mm recited in claim 4, and well below the gap

size disclosed in Jäger and Bimshas size. Id.

      Also, it is generally known that the viscosity of a moving fluid confined in

the gap between two cylinders is affected by the mean free path. Id. A mean free

path exceeding the distance between the cylinders would greatly increase

kinematic viscosity and reduce heat transfer. Id.; see also Exhibit 1008, p. 23, ll.

3-9. Therefore, a PHOSITA designing an interleaved fin cooling device for a

flywheel in a partial vacuum would likely select parameters such as fin spacing,

gas type, and operating pressure so that the mean free path of the gas is less than

the fin spacing. Exhibit 1003, ¶42.

      C.     Claim 6 is obvious over Sibley in view of Jäger or Bimshas, and
             further in view of Common Knowledge and Adams (Grounds 5
             and 6)

      In a similar technology area, Adams discloses a flywheel device used as a

roll stabilizer for a boat as recited in claim 6. It would be obvious to a PHOSITA


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to apply the cooling techniques of Sibley to the flywheel and enclosure of the boat

roll stabilizer of Adams. Adams explicitly discloses a need to cool the bearings 20,

but does not describe the cooling device. Col. 7, ll. 21-30. A PHOSITA would

recognize that the teachings of Sibley related to cooling bearings in a flywheel

energy storage device are generally applicable to other flywheel devices (e.g.,

Adams roll stabilizer). The ’782 Patent acknowledges in its background section

that it is known that the same cooling problems exists in different flywheel devices

that have a vacuum enclosure containing heat generating bearings. Col. 1, ll. 24-

30. The motivation to combine Adams and Sibley is that Adams explicitly

discloses the need for a cooling device to cool the flywheel bearings, and Sibley

discloses a cooling device for cooling flywheel bearings. Adapting the flywheel

device described by Sibley for use as a roll stabilizer as taught by Adams requires

only routine skill.




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VIII. Grounds 7-9

      The Claim Chart Appendix (Section XII) provides a claim mapping of all

the elements of claims 1-10 in accordance with Grounds 7-9.

      A.     Claim 1 is obvious over an Adams in view of Sibley and Common
             Knowledge (Ground 7)

      Adams discloses a gyroscopic roll stabilizer for a boat. Adams, Abstract;

col. 6, ll. 9-34; Figs. 1-7. The gyroscopic roll stabilizer in Adams includes a

flywheel 16 and bearings 20 (i.e., heat generating elements) contained within a

vacuum enclosure 30. Col. 6, ll. 41-49; Figs. 5-6. Adams also discloses the need

for a cooling device to cool the flywheel bearings. Col. 7, ll. 28-29. Adams,

however, does not disclose any details of the bearing cooling device.

      In a closely related technology area, Sibley discloses a flywheel energy

storage system 10, which like Adams includes a flywheel 412 supported by

bearings 346 and enclosed within a vacuum enclosure 418. Sibley, [0011]. Sibley

also teaches a cooling device comprising interleaved fins 438, 440 to cool the

flywheel bearings 346. [0142-0144].

      It would be obvious to a PHOSITA to use the cooling fins 438, 440 of

Sibley in Adams’ gyroscopic roll stabilizer. Adams explicitly discloses a need to

cool the bearings 20, but does not describe the cooling device. Col. 7, ll. 29-30. A

PHOSITA would recognize that the teachings of Sibley related to cooling bearings



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in a flywheel energy storage device are applicable to other flywheel devices (e.g.,

Adams roll stabilizer). Exhibit 1003, ¶30. A PHOSITA would be motivated to

incorporate interleaved cooling fins 438, 440 as described by Sibley into the

flywheel device of Adams to cool Adams’ flywheel bearings 20. Id. It would be

obvious to add rotating fins 438 to the shaft 18 of the Adams flywheel 16 and

stationary fins 440 to the enclosure 30 in Adams. The motivation to combine

Adams and Sibley is that Adams explicitly discloses the need for a cooling device

to cool the flywheel bearings 20, and Sibley discloses a cooling device for cooling

flywheel bearings. Id.

      The Adams/Sibley combination discloses all of the limitations of claim 1 as

shown in the Claim Chart Appendix (Section XII). Adams discloses a spinning

member (flywheel assembly 16, 18) within an enclosure (enclosure 30) containing

a gas at below-ambient pressure. Adams further discloses heat generating

components (bearings 20) supporting the flywheel assembly. The bearings 20 in

the Adams/Sibley combination include an inner ring or race attached to the

flywheel assembly 412 to rotate with the flywheel assembly 412, and an outer race

attached to the enclosure 30.

      Sibley discloses a cooling device including a first plurality of vanes (fins

438) attached to a flywheel shaft, and a second plurality of vanes (cooling fins 440)

fixed relative to an enclosure. The first set of fins 438 rotate with the flywheel


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shaft relative to the enclosure 30. The second set of fins 440 define gaps into

which the first set of fins 438 extend so that the first set of fins 438 and second set

of fins 440 are interleaved. The first set of fins 438 and second set of fins 440 are

disposed in close proximity to the bearings 20 to enable heat transfer from the

bearings 20 to the cooling fins, 438, 440, which under the broadest reasonable

construction is adjacent the bearings 20 of the Adams/Sibley combination. In

Sibley, heat flows by solid conduction from the inner race of the bearings and

flywheel shaft to the first set of fins 438, across the gap from the first set of fins

438 to the second set of fins 440, and by solid conduction from the second set of

fins 440 to the exterior of the enclosure 30.

      Sibley does not mention conductive or convective heat transfer between the

first and second sets of fins. However, both conductive and convective heat

transfer would naturally occur at the operating pressures taught by Adams. Exhibit

1003, ¶¶21-23; 39-41. Specifically, Adams teaches that “the pressure is preferably

below 190 Torr (0.25 atmosphere), and more preferably below 7.6 Torr (0.01

atmosphere).” Col. 7, ll. 4-6. At the pressures taught by Adams, there would be a

significant amount of gas in the space between the fins so that heat transfer by

gaseous conduction and convection would naturally occur due to the Second Law

of Thermodynamics. Exhibit 1003, ¶¶21, 39-41; Exhibit 1005. Petitioner’s expert,

Dr. Buckner, has performed simulations confirming that conductive and convective


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heat transfer both occur between the interleaved fins in the pressure range taught

by Adams. Id.

      Further, as noted in Sections VII.A and VII.B above, a PHOSITA would

recognize that, in an interleaved fin thermal connector for a boat stabilizer,

radiation alone would not be likely to provide sufficient heat transfer to cool the

bearings. Exhibit 1003, ¶22. In comparison to radiation, significantly more heat

can be transferred by gaseous conduction and gaseous convection. Id. If heat

transfer is an important design objective, a PHOSITA would design the system to

operate at pressures that significantly reduce aerodynamic drag (which reduces

heat generation) while providing significant heat transfer by gaseous conduction

and gaseous convection. Exhibit 1003, ¶23.

      Accordingly, claim 1 is obvious over Adams in view of Sibley and common

knowledge.

      B.     Claims 2-8, and 10 are obvious over an Adams in view of Sibley
             and Common Knowledge (Ground 7)

      Claim 2 recites that the “heat transfer between the first and second vanes is

primarily by gaseous conduction.” This limitation simply describes the most

obvious solution, if not the only solution, to the problem of transferring heat away

from a bearing in a medium vacuum as taught by Adams.




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      Operation of the flywheel in a partial vacuum environment is desirable or

necessary to reduce aerodynamic drag. Exhibit 1003, ¶11. As explained in

Section VII.B, for a practical flywheel device where heat transfer is an important

design objective, the heat transfer will almost certainly be primarily by gaseous

conduction . Further, as discussed in Section VII.B., the Patent Owner admitted in

proceedings before the European Patent Office on a counterpart EP application,

that neither gaseous convection nor radiation provided a suitable mechanism for

heat transfer in a partial vacuum, leaving gaseous conduction as the only practical

solution. Exhibit 1036, p. 9.

      Use of a partial vacuum in the enclosure of Adams’ boat stabilizer involves a

known tradeoff between two competing design criteria in flywheel systems:

reductions in aerodynamic drag at lower gas pressures are accompanied by

reductions in heat transfer by gaseous conduction and convection. Exhibit 1003,

¶23. If effective heat transfer is an important design objective as suggested by both

Adams and Sibley, this tradeoff may be addressed by reducing pressure to achieve

a significant reduction in aerodynamic drag while maintaining sufficient pressure

for gaseous conduction and convection. Id. As explained in Section VII.B, the

analysis of Petitioner’s expert shows that in the range of 7.6 Torr-0.076 Torr, a

range where flywheel devices are likely to operate, gaseous conduction will be the




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dominant mode of heat transfer. This range encompasses preferred operating

pressure disclosed in Adams. Col. 4, ll. 23-31.

      While further reductions in aerodynamic drag could be achieved at even

lower pressures, this benefit would be offset by significantly reduced heat transfer.

Exhibit 1003, ¶23. Such solutions are not likely to be considered by a PHOSITA

designing a system to transfer heat as taught in Adams and Sibley.

      Balancing the tradeoff to address Sibley’s objectives of reducing

aerodynamic drag losses and enhancing cooling of the bearings and motor is the

type of routine design optimization task within the skill level of a PHOSITA. Id.,

see In re Aller, 220 F.2d 454, 456, 105 USPQ 233, 235 (CCPA 1955). In

balancing this trade-off, a PHOSTA would be hard pressed to design a flywheel

device that achieves significant reductions in aerodynamic drag and significant

heat transfer without relying on gaseous conduction as the primary mode of heat

transfer. Accordingly, the subject matter of claim 2 is obvious to a PHOSITA.

      Claim 3 recites that “first and second vanes have closely spaced exposed

surfaces across which heat is transferred.” Claim 4 recites that “the separation

between the first vanes and the second vanes is greater than 0.025 mm but less than

10 mm.” Sibley discloses that the fins 438, 440 are spaced close enough so that

heat is transferred from the first fins 438 to the second fins 440, which is “closely

spaced” as recited in claim 3 under the broadest reasonable construction of the


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term. Sibley does not disclose the dimensions of the gap. As noted above,

selecting the dimension of the gap between the fins to optimize the amount of heat

transfer according to design objectives would involve only routine skill to optimize

a known result-dependent variable. Exhibit 1003, ¶34.

      Claim 5 recites that “the gas is both below ambient pressure and below

ambient density.” Adams explicitly teaches that the gas within the enclosure

around the flywheel 16 is maintained at below-ambient pressure and that helium

gas, a below-ambient density gas, can be used to reduce aerodynamic drag.

Therefore, the limitations recited in claim 5 are taught by the Adams/Sibley

combination. A PHOSITA would be motivated to operate at a partial vacuum and

use a below-ambient density gas to reduce aerodynamic drag and increase heat

transfer by gaseous conduction and convection.

      Claim 6 recites that “the spinning member is a flywheel and the flywheel

and enclosure are part of gyroscopic roll stabilizer for a boat.” Adams explicitly

discloses a boat stabilizer having a flywheel so the limitations recited in claim 6

are disclosed by the Adams/Sibley combination.

      Claim 7 depends from claim 1 and further recites “a heat sink to which heat

flows from the second vanes.” Claim 8 depends from claim 7 and recites that “the

heat sink comprises air-cooled fins on the exterior of the enclosure.” Sibley

discloses that heat is transferred from the second set of fins 440 to the enclosure


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418, which functions as a heat sink as recited in claim 7. Sibley further discloses

that the enclosure 418 includes air-cooled fins as recited in claim 8. A PHOSITA

would be motivated to use the enclosure in Adams as a heat sink to dissipate heat

and have cooling fins on the exterior of the enclosure as taught by Sibley to

increase heat transfer.

      Claim 10 recites that the gas within the enclosure “has a higher thermal

conductivity than air.” Adams discloses that the enclosure may be filed with

helium gas, which has a higher thermal conductivity than air. A PHOSITA would

be motivated to use helium in the enclosure in Adams to reduce aerodynamic drag

and increase heat transfer by gaseous conduction and convection. Accordingly, the

additional limitations recited in claim 10 are disclosed by the Adams/Sibley

combination.

      C.     Claims 4 and 9 are obvious over Adams in view of Sibley and
             Common Knowledge, and further in view of Jäger (Ground 8) or
             Bimshas (Ground 9)

      Claim 4 recites that “the separation between the first vanes and the second

vanes is greater than 0.025 mm but less than 10 mm.” The Adams/Sibley

combination does not disclose the dimensions of the gap between Sibley’s

interleaved fins. Jäger discloses an interleaved fin thermal connector where the

gap between the first and second fins is 0.1-0.2 mm. Bimshas discloses that the

gap between the interleaved fins is between .005 (.127 mm) to .007 (.178 mm)


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inches. Col. 2, ll. 23-26. In both cases, the spacing between the fins falls squarely

within the range recited in claim 4. Further, selecting the dimension of the gap

between the fins would involve only routine skill to optimize a known result-

dependent variable. Exhibit 1003, ¶37.

      Claim 9 recites that “the gas has a molecular mean free path equal to or less

than the distance between the first and second vanes.” Under operating conditions

normal for a flywheel, the mean free path of air is between 0.068 PP DWÛ&

7RUU DQGPP DWÛ&7RUU Exhibit 1003, ¶42. These values are

well below the maximum gap size of 10 mm recited in claim 4, and well below the

gap size disclosed in Jäger and Bimshas size. Id.

      Also, it is generally known that the viscosity of a moving fluid confined in

the gap between two cylinders is affected by the mean free path. Id. A mean free

path exceeding the distance between the cylinders would greatly increase

kinematic viscosity and reduce heat transfer. Exhibit 1003, ¶42; see also Exhibit

1008, p. 23, ll. 3-9. Therefore, a PHOSITA designing an interleaved fin cooling

device for a flywheel in a partial vacuum would select parameters such as fin

spacing, gas type, and operating pressure so that the mean free path of the gas is

less than the fin spacing. Exhibit 1003, ¶42.




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IX.   Grounds 10-11

      The Claim Chart Appendix (Section XII) provides a claim mapping of all

the elements of claims 11-23 in accordance with Grounds 10-11.

      A.     Claim 11 is obvious over Adams in view of Sibley or Jäger, and
             further in view of Common Knowledge and Bimshas (Grounds 10
             and 11)

      Adams discloses a gyroscopic roll stabilizer for a boat. Adams, Abstract;

col. 6, ll. 9-18; Fig. 2. The gyroscopic roll stabilizer in Adams includes a flywheel

16 and bearings 20 (i.e., heat generating elements) contained within a vacuum

enclosure 30. Col. 6, ll. 41-49; Figs. 5-6. Adams also discloses the need for a

cooling device to cool the flywheel bearings. Col. 7, ll. 21-30. Adams, however,

does not disclose any details of the bearing cooling device.

      In a closely related technology area, Sibley discloses a flywheel energy

storage system 10, which like Adams includes a flywheel 412 supported by

bearings 346 and enclosed within a vacuum enclosure 418. Sibley, [0011]. Sibley

also teaches a cooling device comprising interleaved fins 438, 440 to cool the

flywheel bearings 346. [0142-0144].

      It would be obvious to a PHOSITA to use the cooling fins 438, 440 of

Sibley in Adams’ gyroscopic roll stabilizer. Adams explicitly discloses a need to

cool the bearings 20, but does not describe the cooling device. Col. 7, ll. 21-30. A

PHOSITA would recognize that the teachings of Sibley related to cooling bearings


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in a flywheel energy storage device are generally applicable to other flywheel

devices (e.g., Adams roll stabilizer). Exhibit 1003, ¶30. It would be obvious to a

PHOSITA to incorporate interleaved cooling fins as described by Sibley into the

flywheel device of Adams to cool Adams’ flywheel bearings. Id. It would be

obvious to add rotating fins 438 to the shaft 18 of the Adams flywheel 16 and

stationary fins 440 to the enclosure 30 in Adams. The motivation to combine

Adams and Sibley is that Adams explicitly discloses the need for a cooling device

to cool the flywheel bearings, and Sibley discloses a cooling device for cooling

flywheel bearings. Id.

      Jäger discloses a cooling device similar to Sibley to cool the bearings of a

rotating element. A PHOSITA would recognize that the teachings of Jäger are

generally applicable to cool the bearings flywheel devices. Id. It would be

obvious to a PHOSITA to incorporate interleaved cooling fins as described by

Jäger into the flywheel device of Adams to cool Adams’ flywheel bearings. Id. It

would be obvious to add rotating fins 9 as described by Jäger to the shaft 18 of the

Adams flywheel 16 and stationary fins 12, 13 in Jäger to the enclosure 30 in

Adams. The motivation to combine Adams and Jäger is that Adams explicitly

discloses the need for a cooling device to cool the flywheel bearings, and Jäger

discloses a cooling device for cooling bearings supporting a rotating element. Id.




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      The Adams/Sibley combination and the Adams/Jäger combination disclose

all of the limitations of claim 11 except for the specific geometric arrangement of

the interleaved fins. Adams discloses a spinning member (flywheel assembly 16,

18) within an enclosure (enclosure 30) containing a gas at below-ambient pressure.

Adams further discloses heat generating components (bearings 20) supporting the

flywheel assembly. The bearings 20 in the Adams/Sibley combination include an

inner ring or race attached to the flywheel assembly 412 so as to rotate with the

flywheel assembly 412, and an outer race attached to the enclosure 30. Both

Sibley and Jäger disclose interleaved fin thermal connectors for transferring heat

from a heat generating components. The interleaved fin thermal connectors with

two sets of relatively rotating fins: one attached to the flywheel and one fixed

relative to the housing or enclosure. Heat is transferred by solid conduction from

the bearing to the first set of fins, across the gap between the first and second sets

of fins, and by solid conduction to the exterior of the housing or enclosure.

      Sibley and Jäger do not disclose the cylindrical geometry recited in claim 11.

Specifically, claim 11 recites that “the first vanes are cylindrical elements

extending in a first direction substantially parallel to the axial direction,” and that

“the second vanes are cylindrical elements extending in a second direction

substantially parallel to the axial direction and opposite the first direction.” The




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specific geometric arrangement of the interleaved fins recited in claim 11 is

disclosed in Bimshas.

      As described above, Bimshas discloses a rotatable heat transfer device with

interleaved fins 12, 16. A first set of fins 12 is connected to a heat source and a

second set of fins 16 is connected to a heat sink. Bimshas, col. 2, ll. 4-16; Fig. 1.

In the embodiment shown in Fig. 1, the fins 12, 16 are concentric cylinders

extending in a direction parallel to the axis of relative rotation. Bimshas, col. 2, ll.

36-38. This fin geometry is referred to herein as the cylindrical fin geometry. In

the cylindrical fin geometry, the cooling fins 12, 16 extend in opposite directions

parallel to the rotational axis of the rotatable heat transfer device. In another

embodiment shown in Fig. 2, the fins 12, 16 are flat annular disks extending in a

direction perpendicular to the rotational axis. Bimshas, col. 2, ll. 40-50; Fig. 2.

This geometry is referred to herein as the planar disc geometry. In the planar disc

fin geometry, the cooling fins 12, 16 extend radially outward relative to the

rotational axis of the rotatable heat transfer device.

      It would be obvious to modify the Adams/Sibley or Adams/Jäger

combinations to use the cylindrical fin geometry as taught by Bimshas. Sibley

uses the same planar disc fin geometry that is disclosed in Fig. 2 in Bimshas and in

Fig. 1 of Jäger. Bimshas teaches that the planar disc fin geometry and the

cylindrical fin geometry are simply two alternative fin geometries available to a


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PHOSITA. Thus, a PHOSITA would recognize that the cylindrical fin geometry

and planar disc fin geometry are interchangeable depending on other design

constraints, such as the size and shape of the enclosure. Exhibit 1003, ¶38. The

use of cylindrical fin geometry in place of the planar disc fin geometry is simply

the substitution of one element (planar disc fin geometry) of the Adams/Sibley or

Adams/Jäger combination with a known equivalent (cylindrical fin geometry).

         B. Claims 12-18, and 20-23 Are Obvious Over Adams in view of
            Sibley or Jäger, and further in view of Common Knowledge and
            Bimshas (Grounds 10 and 11)
      Once the gyroscopic roll stabilizer Adams is combined with the interleaved

fin thermal connector of either Sibley or Jäger to cool the bearings in the Adams

stabilizer, with the fin geometry of Bimshas, the respective combinations each

meet all the limitations of claims 12-18, and 21-23.

      Claim 12 recites that “heat transfer between the first and second vanes

occurs both by gaseous conduction and convection.” Claim 12 does not require

any specific amount of heat transfer. Sibley is silent as to conductive or convective

heat transfer between the first and second sets of fins. Heat transfer by gaseous

conduction and convection is disclosed by Jäger. Both conductive and convective

heat transfer would naturally occur at the operating pressures taught by Adams.

Specifically, Adams teaches that “the pressure is preferably below 190 Torr (0.25

atmosphere), and more preferably below 7.6 Torr (0.01 5 atmosphere).” Col. 7, ll.


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4-6. At the pressures taught by Adams, there would be a significant amount of gas

in the space between the fins so that heat transfer by gaseous conduction and

convection would naturally occur due to the Second Law of Thermodynamics.

Exhibit 1003, ¶¶39-41; Exhibit 1005. Petitioner’s expert, Dr. Buckner, has

performed simulations confirming that conductive and convective heat transfer

both occur between the interleaved fins in the pressure range taught by Adams. Id.

      Further, as noted in Sections VIII.B above, a PHOSITA would recognize

that, in an interleaved fin thermal connector for a boat stabilizer, radiation alone

would not be likely to provide sufficient heat transfer to cool the bearings. Exhibit

1003, ¶22. In comparison to radiation, significantly more heat can be transferred

by gaseous conduction and gaseous convection. Id. If heat transfer is an important

design objective, a PHOSITA would design the system to operate at pressures that

significantly reduce aerodynamic drag (which reduces heat generation) while

providing significant heat transfer by gaseous conduction and gaseous convection.

Exhibit 1003, ¶¶23. Adjusting parameters such as fin spacing, gas type, and

operating pressure to optimize heat transfer by gaseous conduction and convection

involves only routine skill.

      Claim 13 recites that the “heat transfer between the first and second vanes is

primarily by gaseous conduction.” The arguments made above in Section VIII.B

regarding claim 2 also apply to claim 13, which simply describes the most obvious


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solution to the problem of transferring heat away from a bearing in a medium

vacuum as taught by Adams. Operation of the flywheel in a partial vacuum

environment is desirable or necessary to reduce aerodynamic drag. Exhibit 1003,

¶11. At the pressure ranges needed to significantly reduce aerodynamic drag, there

is likely to be only negligible amounts of heat transfer by advection and a

relatively small amount of heat transfer by radiation. Exhibit 1003, ¶23, 39-41.

For virtually any practical flywheel device where heat transfer is an important

design objective, the heat transfer will almost certainly be primarily by gaseous

conduction. Exhibit 1003, ¶23. Therefore, as noted in Section VIII. B, reliance on

gaseous conduction to get significant heat transfer is almost certainly necessary.

Reliance on gaseous conduction is not simply one of several ways of transferring

heat, but rather is the only practical way to transfer significant amount of heat in a

partial vacuum.

      As discussed in Section VII.B., the Patent Owner admitted in proceedings

before the European Patent Office on a counterpart EP application, that neither

gaseous convection nor radiation provided a suitable mechanism for heat transfer

in a partial vacuum, leaving gaseous conduction as the only practical solution.

Exhibit 1036.

      Use of a partial vacuum in the enclosure of Adams’ boat stabilizer involves a

known tradeoff between two competing design criteria in flywheel systems:


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reductions in aerodynamic drag at lower gas pressures are accompanied by

reductions in heat transfer by gaseous conduction and convection. Exhibit 1003,

¶23. If effective heat transfer is an important design objective as suggested by

Adams, Sibley, Jäger, and Bimshas, this tradeoff may be addressed by reducing

pressure enough to achieve a significant reduction in aerodynamic drag while

maintaining sufficient pressure for gaseous conduction and convection. Id.

      Significant reduction in aerodynamic drag can be achieved with slight

reduction in pressure (e.g., from atmospheric pressure, 760 Torr, to .01 Torr) while

maintaining significant gaseous conduction. Id. In the range of .076 to 76 Torr,

heat transfer would be primarily by gaseous conduction and convection. Exhibit

1003, ¶¶39-41.

      As explained above with respect to Grounds 3 and 4, the analysis of

Petitioner’s expert shows that in the range of 76 Torr-0.076 Torr, a range where

flywheel devices are likely to operate, gaseous conduction will be the dominant

mode of heat transfer. Exhibit 1003, ¶41. This range encompasses preferred

operating pressure disclosed in Adams. Col. 4, ll. 23-31.

       While further reductions in aerodynamic drag could be achieved at even

lower pressures, this benefit would be offset by significantly reduced heat transfer.

Exhibit 1003, ¶23. Such solutions are not likely to be considered by a PHOSITA

designing a system to transfer heat as in Adams, Sibley, Jäger, and Bimshas.


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      Balancing the tradeoff to address Sibley’s objectives of reducing

aerodynamic drag losses and enhancing cooling of the bearings and motor is the

type of routine design optimization task within the skill level of a PHOSITA. Id.,

see In re Aller, 220 F.2d 454, 456, 105 USPQ 233, 235 (CCPA 1955). In

balancing this trade-off, a PHOSTA would be hard pressed to create a design a

flywheel device that achieved significant reductions in aerodynamic drag and

significant heat transfer without relying on gaseous conduction as the primary

mode of heat transfer. Accordingly, the subject matter of claim 2 is obvious to a

PHOSITA.

      Claim 14 recites that “the first and second vanes have closely spaced

exposed surfaces across which heat is transferred.” Claim 15 recites that “the

separation between the first vanes and second vanes is greater than 0.025 mm but

less than 10 mm.” Both Jäger and Bimshas disclose the interleaved cooling fins

are spaced close enough so that heat is transferred from the first fins to the second

fins, which is “closely spaced” as recited in claim 14 under the broadest reasonable

construction of the term. Jäger discloses interleaved heat transfer fins with a gap

between 0.1-0.2 mm. Col. 3, ll. 22-30. Bimshas further discloses that the gap

between fins is between .005 (.127 mm) to .007 (.178 mm) inches. Col. 2, ll. 23-

26. The spacing between the fins in Bimshas falls squarely within the range




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recited in claim 15. Further, selecting the dimension of the gap between the fins

would involve only routine skill to optimize a known result-dependent variable.

       Claim 16 recites that the “the gas is both below ambient pressure and below

ambient density.” Adams teaches that the enclosure may be filled with helium (a

below ambient density gas) and maintained at below ambient pressure. Col. 10, ll.

50-51.

       Claim 17 recites that the “the spinning member is a flywheel and the

flywheel and enclosure are part of gyroscopic roll stabilizer for a boat.” Adams

discloses a flywheel device used as a gyroscopic roll stabilizer for a boat. Col. 10,

ll. 31-35.

       Claim 18 recites “a heat sink to which heat flows from the second vanes.”

Sibley teaches that the enclosure can function as a heat sink. [0144]. Jäger

discloses that the fins 12 and 13 transfer heat to a liquid cooled sleeve 10 that

functions as a heat sink and then to the outside of housing 1. Jäger, p. 3. It would

be obvious to use a heat sink as disclosed in Sibley and Jäger in the Adam flywheel

device to dissipate heat.

       Claim 20 recites that “the gas has a molecular mean free path equal to or less

than the distance between the first and second vanes.” Under operating conditions

normal for a flywheel, the mean free path of air is between 0.068 PP DWÛ&

7RUU DQGPP DWÛ&7RUU). Exhibit 1003, ¶42. These values are


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well below the maximum gap size of 10 mm, and well below the gap size disclosed

in Jäger and Bimshas size that may be used. Id.

      Also, it is generally known that the viscosity of a moving fluid confined in

the gap between two cylinders is affected by the mean free path. Id. A mean free

path exceeding the distance between the cylinders would increase kinematic

viscosity and reduce heat transfer. Id (citing Exhibit 1008, p. 23, ll. 3-9).

Therefore, a person designing an interleaved fin cooling device would select

parameters such as fin spacing, gas type and operating pressure so that the mean

free path of the gas is less than the fin spacing. Id.

      Claim 21 recites that “the gas has a higher thermal conductivity than air.”

Adams teaches that the enclosure may be filled with helium (a below-ambient

density gas) and maintained at below-ambient pressure. Col. 10, ll. 50-51. Helium

has a higher thermal conductivity than air. Exhibit 1003, ¶16.

      Claim 22 recites that “the heat generating component comprises one or more

bearings.” Adams and Sibley both explicitly teach that a cooling device is needed

to cool the flywheel bearings. The interleaved fins in Sibley are provided

specifically for the purpose of cooling the flywheel.

      Claim 23 recites “the heat generating component comprises one or more

electrical motors.” Adams and Sibley both disclose motors inside the enclosure

that generate heat. A PHOSITA would recognize that the fin arrangement could


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also be used to cool the motor. Exhibit 1003, ¶21. In Sibley, the fins are located

adjacent the motor, so heat generated by the motor would also be dissipated by the

fins.

        C.    Claim 19 is obvious over Adams in view of Sibley, Bimshas, and
              Common Knowledge (Ground 10)
        Claim 19 depends from claim 18 and recites that “the heat sink comprises

air-cooled fins on the exterior of the enclosure.” Sibley discloses that the

enclosure functions as a heat sink and includes exterior fins to dissipate heat to the

ambient air. It would be obvious to a PHOSITA to use air-cooled fins as described

in Sibley to increase heat transfer from the enclosure in Adams. The use of air-

cooled fins to increase heat transfer is a well-known and standard technique in the

field of heat transfer. Exhibit 1003, ¶37.




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X.    Grounds 12-14

      The Claim Chart Appendix (Section XII) provides a claim mapping of all

the elements of claims 11-23 in accordance with Grounds 12-13.

      A.    Claim 11 is obvious over Woodard in view of Bimshas and
            Common Knowledge (Ground 12)

      Woodard discloses the basic structure of a flywheel device as recited in

claim 11. Specifically, Woodard discloses a flywheel 610, rotating shaft 612, and

rolling-element bearings 604, 606 enclosed within a vacuum enclosure 602.

Woodard further discloses a heat transfer assembly 200 for dissipating heat from

the flywheel bearings 604, 606. In Woodard, heat is transferred by solid

conduction from the bearings 604, 606 to the enclosure 602, which functions as a

heat sink to dissipate heat to the atmosphere. While Woodard discloses conductive

members attached to the rotating shaft, Woodard does not propose the recited

interleaved vanes.

      It would be obvious to a PHOSITA to substitute the rotating heat transfer

device of Bimshas in place of the heat transfer assembly 200 of Woodard. The

heat transfer assembly 200 of Woodard is specifically designed to allow for some

relative radial and axial movement of the heat transfer components. Bimshas

allows for relatively axial movement but not relative radial movement. A

PHOSITA would recognize that the heat transfer arrangement assembly of



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Woodard and the heat transfer device of Bimshas are interchangeable in

applications where relative radial movement is not required. Exhibit 1003, ¶33.

Thus, the substitution of the heat transfer device of Bimshas for the heat transfer

assembly in Woodard is a simple substitution of one known cooling device for an

equivalent cooling device with predictable results.

        The combination of Woodard and Bimshas discloses all of the limitations of

claim 11. Woodard teaches a flywheel 610 (spinning member) and bearings 604,

606 (heat generating components) enclosed within a vacuum enclosure 602

maintained at below-ambient pressure. The flywheel spins about an axis of

rotation. Bimshas discloses a first plurality of vanes (fins 12) that may be attached

to the flywheel 610 and a second plurality of vanes (fins 16) that may be fixed

relative to the enclosure 602. The cooling fins 12, 16 in Bimshas extend in

opposite directions parallel to the axis of rotation of the flywheel. The second set

of cooling fins 16 define cylindrical-shaped channels into which the first set of

cooling fins 12 extend so that the first and second fins 16 are interleaved. The first

and second cooling fins 12, 16 in Bimshas are positioned in close proximity so that

heat is transferred from the first fins to the second fins to cool the heat generating

component (e.g. bearing). The second fins in Bimshas are connected to a heat

sink.




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      B.     Claims 12-16, 18, 20, and 22-23 Are Obvious Over Woodard in
             View Bimshas and Common Knowledge (Ground 12)
      Once the heat transfer device of Bimshas is substituted for the heat transfer

assembly in Woodard, the combination meets the claim limitations of claims 12-

16, 18, 20, and 22-23.

      Claim 12 recites that “heat transfer between the first and second vanes

occurs both by gaseous conduction and convection.” Claim 12 does not require

any specific amount of heat transfer. Bimshas teaches the use of a thermally

efficient gas, such as helium, between the interleaved fins. Implicit in the Bimshas

disclosure is that a thermally efficient gas will improve heat transfer by gaseous

conduction and convection. It would have no effect on radiative transfer.

Therefore, the combined teaching of Woodard/Bimshas discloses heat transfer by

gaseous conduction and convection as recited in claim 12.

      Claim 13 recites that the “heat transfer between the first and second vanes is

primarily by gaseous conduction.” The arguments made above with regard to

claim 2 (Sections and VII.B and VIII.B) also apply to claim 13. At the pressure

ranges needed to significantly reduce aerodynamic drag, there is likely only

negligible amounts of heat transfer by advection and a relatively small amount of

heat transfer by radiation. Exhibit 1003, ¶23. For a practical flywheel device

where heat transfer is an important design objective, the heat transfer will almost




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certainly be primarily by gaseous conduction. Id. Therefore, reliance on gaseous

conduction to get significant heat transfer is almost certainly necessary.

      For reasons set forth in above regarding claim 2, designing a system to

balance the trade-off between heat transfer by gaseous conduction and reduction in

aerodynamic drag is nothing more than the exercise of routine skill to optimize a

known result effective variable. Id. Accordingly, claim 13 is obvious over

Woodard/Bimshas in view of common knowledge.

      Claim 14 recites that “the first and second vanes have closely spaced

exposed surfaces across which heat is transferred.” Claim 15 recites that “the

separation between the first vanes and second vanes is greater than 0.025 mm but

less than 10 mm.” Bimshas discloses that the fins are spaced close enough so that

heat is transferred from the first fins to the second fins, which is “closely spaced”

as recited in claim 14 under the broadest reasonable construction of the term.

Bimshas further discloses that the gap between fins is between .005 (.127 mm) to

.007 (.178 mm) inches. Col. 2, ll. 23-26. The spacing between the fins in Bimshas

falls squarely within the range recited in claim 15. Further, selecting the

dimension of the gap between the fins would involve only routine skill to optimize

a known result-dependent variable.

      Claim 16 recites that the “the gas is both below ambient pressure and below

ambient density.” Woodard teaches a below-ambient pressure to reduce


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aerodynamic drag. Col. 19, ll. 24-28. Bimshas teaches the use of helium, a below-

ambient density gas, to improve heat transfer. Col. 3, ll. 22-24. Thus, the

Woodard/Bimshas combination discloses a below-ambient pressure and a below-

ambient density gas as recited in claim 16.

      Claim 18 recites “a heat sink to which heat flows from the second vanes.”

Bimshas disclose that the cooling fins 16 connect to a heat sink. Col. 2, ll. 11-13.

A heat sink may comprise any structure, such as the enclosure in Woodard, to

which the heat generated by the bearing is transferred. This limitation is disclosed

by the Woodard/Bimshas combination.

      Claim 20 recites that “the gas has a molecular mean free path equal to or less

than the distance between the first and second vanes.” Under operating conditions

normal for a flywheel, the mean free path of air is between 0.068 PP DWÛ&

7RUU DQGPP DWÛ&7RUU). Exhibit 1003, ¶42. These values are well

below the maximum gap size of 10 mm, and well below the gap size disclosed in

Jäger and Bimshas size that may be used. Id.

      Also, it is generally known that the viscosity of a moving fluid confined in

the gap between two cylinders is affected by the mean free path. Id. A mean free

path exceeding the distance between the cylinders would greatly increase

kinematic viscosity and reduce heat transfer. Exhibit 1003, ¶42; see also Exhibit

1008, p. 23, ll. 3-9. Therefore, a person designing an interleaved fin cooling device


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would select parameters such as fin spacing, gas type, and operating pressure so

that the mean free path of the gas is less than the fin spacing. Exhibit 1003, ¶42.

      Claim 22 recites “the heat generating component comprises one or more

bearings.” Woodard teaches that the flywheel bearings generate heat that needs to

be dissipated and discloses a cooling device to cool the bearings. Replacing the

cooling device in Woodard with interleaved fins as described in Bimshas would

perform the same function, so this limitation is taught by the Woodard/Bimshas

combination.

      Claim 23 recites the heat generating component comprises one or more

electrical motors. Woodard discloses a motor inside the enclosure that generates

heat. It would be obvious that the fin arrangement of Bimshas could also be used

to cool the motor in Woodard. Exhibit 1003, ¶¶26, 31-33.

      C.     Claims 16-17 and 21 Are Obvious Over Woodard in View of
             Bimshas and Common Knowledge, and Further in View of Adams
             (Ground 13)
      Claim 16 recites that the “the gas is both below-ambient pressure and below-

ambient density.” Woodard discloses that the enclosure is at below-ambient

pressure, but does not address the density of the gas. In a closely related

technology, Adams teaches that the enclosure surrounding the flywheel may

contain a below-ambient pressure gas, a below-ambient density gas (e.g. helium),

or both to reduce aerodynamic drag on the flywheel. Col. 6, l. 57-col. 7, l. 2.


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Further, Bimshas recommends using helium between the interleaved fins to

increase heat transfer. Col. 3, ll. 22-24. It would be obvious to use helium or

another below-ambient density gas in Woodard for the same reasons expressed in

Adams or Bimshas. Exhibit 1003, ¶35.

      Claim 17 recites that the “the spinning member is a flywheel and the

flywheel and enclosure are part of gyroscopic roll stabilizer for a boat.” Adams

discloses a flywheel device used as a roll stabilizer for a boat. Col. 10, ll. 31-35. It

would be obvious to a PHOSITA to adapt the flywheel device in Woodard to be

used as a flywheel device in a boat stabilizer by mounting it in a gimbal to as

taught by Adams. Exhibit 1003, ¶43.

      Claim 21 recites that “the gas has a higher thermal conductivity than air.”

Adams teaches that the enclosure may be filled with helium (a below-ambient

density gas) and maintained at below-ambient pressure. Col. 10, ll. 50-51. Helium

has a higher thermal conductivity than air. Exhibit 1003, ¶16. Further, Bimshas

recommends using helium between the interleaved fins to increase heat transfer.

Col. 3, ll. 22-24. As noted above, it would be obvious to use helium, a below-

ambient density gas, in the Woodard energy storage device to reduce aerodynamic

drag. Thus, the Woodard/Bimshas/Adams combination discloses this limitation.




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      D.     Claim 19 is Obvious Over Woodard In View of Bimshas and
             Common Knowledge, and further in view of Sibley (Ground 14)
      Claim 19 recites that “the heat sink comprises air-cooled fins on the exterior

of the enclosure.” Sibley discloses exterior fins on the enclosure of the energy

storage device that function as a heat sink. Also, the use of air-cooled fins is a

standard technique of heat dissipation. Exhibit 1003, ¶37. Therefore, it would be

obvious to incorporate air-cooled fins as described by Sibley into the enclosure of

Woodard’s energy storage flywheel.




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XI.   Conclusion

      Petitioner respectfully submits that this petition shows a reasonable

likelihood that Petitioner will prevail with respect to at least one of the claims of

the ’782 patent for which Petitioner seeks review. Petitioner requests the PTAB

grant this Petition and initiate inter partes review to find claims 1-23 to be invalid.


                                        Respectfully submitted August 25, 2017,
                                        COATS & BENNETT, P.L.L.C.




                                        David E. Bennett
                                        Registration: 32,194




                                        Brandee N. Woolard
                                        Registration: 68,795




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XII. Claim Chart Appendix

Patent US 7,546,782               Adams, Woodard, Bimshas, Sibley, &
                                  Jäger
1. Cooling apparatus for          Adams, Woodard, Bimshas, Sibley, and
transferring heat from and        Jäger disclose a cooling apparatus for
cooling one or more heat          transferring heat from and cooling one or
generating components that        more heat generating components that support
support or drive a flywheel or    or drive a spinning member.
other spinning member; the
apparatus comprising:             Adams discloses a gyroscopic roll stabilizer
                                  for a boat including a flywheel. 10:31-35. A
                                  flywheel driven at very high tip speeds
                                  requires provision for cooling the flywheel
                                  bearings (heat generating components). 7:21-
                                  30.

                                  Woodard discloses a heat transferring device
                                  for energy generated by a heat producing
                                  device (e.g., a bearing that supports a shaft
                                  rotating a flywheel). Abstract; 1:42-45.

                                  Bimshas discloses a device to transfer heat
                                  from a heat source to a relatively rotating
                                  heatsink. The heat transfer device may be
                                  used in an inertial guidance system to provide
                                  a heat transfer path between relatively rotating
                                  gimbals. 1:22-32.

                                  Sibley discloses cooling fins to facilitate
                                  cooling of a bearing assembly 436 (heat
                                  generating component). [0142-0143]; Fig. 4.
                                  The bearing assembly 436 facilitates rotation
                                  of a shaft 416 and flywheel 412 about an axis.
                                  [0134].

                                  Jäger discloses a cooling device for a rotating
                                  shaft (e.g., due to bearing friction). 1:5-6.


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an enclosure enclosing the         Adams, Woodard, Bimshas and Jäger
spinning member, the enclosure     disclose that the enclosure can be filled with a
containing a gas at below-         gas that could be below-ambient density or
ambient pressure or below-         pressure.
ambient density;
                                   Adams discloses that enclosure 30 contains
                                   helium (a below ambient density gas) and is
                                   maintained at below-ambient pressure. Col.
                                   6:56-col. 7:11.

                                   Woodard discloses that the flywheel energy
                                   storage system includes a main housing 602
                                   sealed to maintain gas pressure at a below
                                   predetermined level of vacuum. 19:24-28.

                                   Bimshas discloses that the gaps between
                                   interleaved fins may be filed with helium.
                                   2:31-36; 3:22-25.

                                   Jäger teaches that the casing surrounding the
                                   shaft may be filled with air ‘or another gas.’
                                   1:33-35. Helium is known to have a higher
                                   thermal conductivity than air, so it would be
                                   obvious to use helium as the other gas to
                                   increase thermal conduction which would
                                   result in the enclosure containing gas at
                                   below-ambient density.

a first plurality of vanes         Bimshas, Sibley, and Jäger disclose a first
attached to the spinning member    set of fins or conductive members (vanes)
such that the first plurality of   connected to a heat generating element to
vanes spin with the spinning       conduct heat away from the heat generating
member relative to the             element. The first set of fins in these
enclosure;                         references are attached to a spinning member.

                                   Bimshas discloses a relatively rotating
                                   member 10 including a first set of fins 12 that
                                   attaches to a heat source. 2:4-10; Fig. 1-2.



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                                     Sibley discloses a first set of fins 438
                                     extending from rotating shaft 412. [0142],
                                     Fig. 4.

                                     Jäger discloses a first set of fins 9 connected
                                     to a rotating shaft 3 to dissipate heat due to
                                     bearing friction. Fig. 1; 2:51-3:15.

a second plurality of vanes fixed    Bimshas, Sibley, and Jäger disclose a second
relative to the enclosure and the    set of fins (vanes) interleaved with the first set
spinning member such that the        of fins. The second set of fins in these
first vanes move with respect to     references is fixed relative to an enclosure or
the second vanes, the second         housing.
vanes defining gaps into which
the first vanes extend so that the   Bimshas discloses a second set of fins 16 that
first and second vanes are           connects to a heat sink. 2:11-13; Fig. 1-2.
interleaved; and                     The second set of fins 16 define gaps to
                                     receive the first set of fins 12. The first and
                                     second sets of fins 12, 16 are interleaved.

                                     Sibley discloses a second set of fins 440
                                     (“clam-shell type set of stationary heat
                                     transfer fins”) that first fins 438. [0142]; Fig.
                                     4. The second set of fins 440 define gaps to
                                     receive the first set of fins 438 the first and
                                     second sets of fins 438, 440 are interleaved.
                                     [0142]; Fig. 4

                                     Jäger discloses a second set of fins 12, 13
                                     connected to the housing 1. Fins 12, 13
                                     define gaps to receive the fins 9 connected to
                                     the rotating shaft. Fins 12, 13 are interleaved
                                     with fins 9. 3:16-30; Fig. 1.

wherein: the first and second        Bimshas, Sibley, and Jäger disclose that the
vanes are located adjacent a         first set of fins can be disposed adjacent to a
bearing that supports the            bearing or heat generating element.
spinning member,
                                     Bimshas teaches that the first set of fins 12


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                                  can be “adapted for connection to a heat
                                  source.” 2:4-10; Fig. 1-2. Bimshas does not
                                  explicitly state that the heat source is a
                                  bearing, but the prior art recognizes that
                                  dissipation of heat energy from a bearing
                                  supporting a flywheel is a known problem.
                                  Adapting Bimshas to dissipate heat from a
                                  bearing involves only routine skill.

                                  Sibley discloses that the fins are close enough
                                  to the bearings so that heat is transferred from
                                  the bearings to the fins. Thus, the fins are
                                  adjacent the bearing assembly 436. Fig. 4.

                                  Jäger discloses that the first set of fins 9 is
                                  adjacent to the inner race of the shaft
                                  bearings. 4:4-9; Fig. 1.
the bearing has an inner race     This element recites a conventional structure
and an outer race,                of a rolling-element bearing shown in Jäger
                                  and Sibley.

                                  Sibley discloses a bearing 436 including an
                                  inner race 446, an outer race 444, and a
                                  bearing ball 442. The bearing 436 supports a
                                  rotating shaft for a flywheel. [0134]; Fig. 4.

                                  Jäger discloses roller bearings 4, 5 with an
                                  inner race and an outer race. The bearing 4, 5
                                  support a rotating shaft. 2:44-50; 4:4-11; Fig.
                                  1.

                                  Woodard describes a heat transferring device
                                  for heat generated by a rolling-element
                                  bearing. 22:66-67.

the first vanes and inner race are Sibley and Jäger disclose conduction from a
attached to the spinning member heat source (e.g. bearings) to the first set of
so heat flows by conduction        fins.


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from the inner race to the first
vanes and from the spinning         In Sibley the cooling fins 438 and inner ring
member to the first vanes,          446 of a bearing assembly 436 are arranged
                                    about a shaft 416 to dissipate heat from the
                                    bearing assembly to a second set of cooling
                                    fins 440 to outside of the vacuum enclosure.
                                    [0134], [0142-0144]; Figs. 4, 24.

                                    In Jäger, the first set of fins 9 and inner race
                                    are attached to the shaft. Heat from the inner
                                    race of the bearings and shaft (spinning
                                    member) flows by solid conduction to the first
                                    set of fins 9. 2:51-3:8; Fig. 1.

                                    Bimshas discloses that the first member 10 is
                                    connected to the heat generating component.
                                    2:4-10.
the outer race is attached to the   This element recites a conventional use of a
enclosure, and                      roller bearing for rotating machinery

                                    In Sibley, the outer ring 444 is attached to the
                                    enclosure 448.

                                    In Jäger, the outer race of the rollers bearing
                                    is attached to the housing 1. Fig. 1.
the inner race, spinning            Bimshas, Sibley, and Jäger disclose a heat
member, first vanes and second      transfer path (1) from the heat source to the
vanes are sized and positioned      first set of fins by solid conduction and (2)
so that heat from the inner race    from the first set of fins to the second set of
of the bearing flows by solid       fins; and (3) from the second set of fins to the
conduction from the inner race      exterior of an enclosure or heat sink.
to the spinning member and to       Bimshas and Jäger disclose heat transfer by
the first vanes, by solid           gaseous conduction and convection.
conduction from the spinning
member to the first vanes, and      Bimshas provides a heat path from a heat
by gaseous conduction and           source to a relatively rotating heat sink. 3:25-
convection from the first vanes     4:3. Heat flows by solid conduction from the


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to the second vanes, and by       heat source to the fins 12 of the first member
solid conduction from the         10, by gaseous conduction and convection
second vanes to the exterior of   from the fins 12 to the fins 16 of the second
the enclosure.                    member 14, and by solid conduction from the
                                  fins 16 to a heat sink (e.g. enclosure).

                                  Jäger discloses a heat conducting path for
                                  conducting heat from the bearings 4, 5 to the
                                  outside of the housing. Heat flows by solid
                                  conduction from the bearings 4, 5 and shaft 3
                                  to the first set of fins 9, by gaseous conduction
                                  and convection from the first set of fins 9 to
                                  the second set of fins 12, 13, and by solid
                                  conduction to a cylindrical sleeve 10 and then
                                  to the outside of housing 1. 1:36-47; 2:1-
                                  4:11; Fig. 1.

                                  Sibley discloses (1) solid conduction from the
                                  inner race to cooling fins 438 extending from
                                  the shaft 416; (2) heat transfer between the
                                  fins 438 and secondary cooling fins 440; (3)
                                  solid conduction from fins 440 two the with a
                                  vacuum enclosure 448. [0141-0143]; Fig. 4.
                                  The heat paths are used to transfer heat
                                  through a vacuum for dumping heat generated
                                  within the vacuum enclosure 448 to ambient
                                  air outside the vacuum enclosure 448. Id.
                                  Due to the Second Law of Thermodynamics,
                                  heat transfer by gaseous conduction and/or
                                  convection naturally occurs across a gaseous
                                  medium when there is a temperature
                                  differential. Exhibit 1003, ¶23.

2. The apparatus of claim         In Bimshas and Jäger, heat is inherently
1 wherein heat transfer between   transferred between the first and second fins
the first and second vanes is     (vanes) by gas conduction. The close spacing
primarily by gaseous              of the fins inherently enable heat transfer by
conduction.                       gas conduction as well as convection.



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                                 Bimshas discloses that the gap between fins is
                                 between .005-.007 inches (.127-.178 mm).
                                 2:23-26. Bimshas further discloses that a
                                 thermally efficient gas such as helium could
                                 be provided within the gaps to improve heat
                                 transfer by gaseous conduction and gaseous
                                 convection. 3:22-24.

                                 Jäger discloses a gap between fins of 0.1 –
                                 0.2 mm and that the space between these fins
                                 (cooling surfaces) is filled with air or another
                                 gas. 3:26-30. Heat transfer is based on
                                 radiation and heat transfer through the gas,
                                 i.e., gaseous conduction and gaseous
                                 convection. 1:36-47.

                                 In a partial vacuum under normal operating
                                 conditions for a flywheel (e.g., low pressure,
                                 high speed), the heat transfer is primarily by
                                 gaseous conduction. Exhibit 1003, ¶39-41.

3. The apparatus of claim        Bimshas, Sibley, and Jäger all disclose fins
1 wherein the first and second   that are closely spaced to permit heat transfer
vanes have closely spaced        by convection, conduction, and/or radiation.
exposed surfaces across which
heat is transferred.             Bimshas discloses that the gap between fins is
                                 between .005 (.127 mm) to .007 (.178 mm)
                                 inches. 2:23-26. Heat is implicitly
                                 transferred across the gap.

                                 Sibley discloses that the first and second fins
                                 should fit together and are shown closely
                                 spaced in. [0142]; Fig. 4. Heat is inherently
                                 transferred across the gap.

                                 Jäger discloses a gap between fins of 0.1 –
                                 0.2 mm. 3:26-30. Heat transfer between the
                                 fins is based on radiation and heat transfer
                                 through the gas, i.e., gaseous conduction and


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                                   gaseous convection. 1:36-47.

4. The apparatus of claim          Bimshas discloses that the gap between fins is
1 wherein the separation           between .005 (.127 mm) to .007 (.178 mm)
between the first vanes and        inches. 2:23-26.
second vanes is greater than
0.025 mm but less than 10 mm.      Jäger discloses a gap between fins of 0.1 –
                                   0.2 mm. 3:26-30.

5. The apparatus of claim          Adams and Woodard disclose that there is
1 wherein the gas is both below-   gas in the flywheel enclosure that is both
ambient pressure and below-        below-ambient pressure and below-ambient
ambient density.                   density.

                                   Adams discloses that the gas in the enclosure
                                   is maintained at below ambient pressure and
                                   below ambient density to reduce aerodynamic
                                   drag. 6:57-7:11.

                                   Woodard’s PCT applications (incorporated
                                   by reference in Woodard) discloses that the
                                   flywheel energy storage can have hydrogen
                                   within the flywheel enclosure and pumps are
                                   used to effect the level of hydrogen gas to
                                   maintain a below-ambient pressure. 3:1-15;
                                   6:23-26; 31:4-10, 32-34.

                                   Bimshas discloses that the space between the
                                   fins may be filled with “a thermally efficient
                                   gas such as helium.” 3:22-24. Helium is a
                                   below-ambient density gas.

                                   Jäger states that the gap between the
                                   interleaved fins may be filled with air or
                                   another gas. Abstract. Helium is known to
                                   have a higher thermal conductivity than air, so
                                   it would be obvious to use helium as the other
                                   gas to increase thermal conduction which
                                   would result in the enclosure containing gas at


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                                    below-ambient density.
6. The apparatus of claim           Adams discloses a gyroscopic roll stabilizer
1 wherein the spinning member       for a boat including a flywheel. The flywheel,
is a flywheel and the flywheel      enclosure and gimbal structure of the
and enclosure are part of           stabilizer are configured so that when installed
gyroscopic roll stabilizer for a    in the boat the stabilizer damps roll motion of
boat.                               the boat. Abstract; 6:9-18; 9:4-55; Figs. 1-3,
                                    8.

                                    Sibley discloses that the enclosure may be
                                    supported within gimbals or in soft
                                    elastomeric rings to deflect to minimize
                                    gyroscopic maneuvering loads on the bearings
                                    when the disclosed flywheel energy storage
                                    system is used in vehicular applications.
                                    [0164].

7. The apparatus of claim           In Bimshas, Sibley, and Jäger, heat is
1 further comprising a heat sink    transferred from second vanes to a heat sink.
to which heat flows from the
second vanes.                       Bimshas teaches that the second fins 16
                                    transfer heat to a heat sink. 2:11-13.

                                    In Sibley, the enclosure 448, and the fins 452
                                    on the enclosure function as a heat sink.
                                    [0144]; Fig. 4.

                                    Jäger discloses that the fins 12 and 13
                                    transfer heat to a liquid cooled sleeve 10 and
                                    then to the exterior of housing 1. 1:36-41;
                                    3:16-22. The sleeve 10 functions as a heat
                                    sink.

8. The apparatus of claim           Sibley discloses air-cooled fins 452 on an
7 wherein the heat sink             exterior of the enclosure 448 functioning as a
comprises air-cooled fins on the    heat sink. [0144].
exterior of the enclosure.

9. The apparatus of claim           Bimshas discloses that the gap between fins is


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1 wherein the gas has a           between .005-.007 inches (.127-.178 mm).
molecular mean free path equal    2:23-26.
to or less than the distance
between the first and second      Jäger discloses gap between fins of 0.1 – 0.2
vanes.                            mm. 3:26-30.

                                  Under typical operating conditions for a
                                  flywheel device, the mean free path of air will
                                  be bHWZHHQPP DWÛ&7RUU 
                                  DQGPP DWÛ&7RUU Exhibit
                                  1003, ¶41. These distances are both well
                                  below the typical spacing between fins.

                                  It is well-known that a mean free path greater
                                  than the distance between the fins reduces
                                  heat transfer by gaseous conduction so a
                                  PHOSITA. Exhibit 1003, ¶42.
10. The apparatus of claim        Adams, Bimshas, Woodard, and Jäger
1 wherein the gas has a higher    disclose use of a gas (e.g., helium or
thermal conductivity than air.    hydrogen) that has higher thermal
                                  conductivity than air.

                                  Adams and Bimshas disclose that the
                                  enclosure may be filed with helium. Adams,
                                  6:62-64; Bimshas, 3:22-24.

                                  Woodard’s PCT (incorporated by reference)
                                  discloses that the enclosure may contain
                                  hydrogen. 31:4-10, 32-34.

                                  Bimshas discloses that the space between the
                                  fins may be filled with “a thermally efficient
                                  gas such as helium.” 3:22-24. Helium has
                                  higher thermal conductivity than air. Exhibit
                                  1003, ¶16. Hydrogen is another thermally
                                  efficient gas. Id.

                                  Jäger teaches that the space between the


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                                  rotating surfaces may be filled with air “or
                                  another gas.” Helium is known to have a
                                  higher thermal conductivity than air, so it
                                  would be obvious to use helium as the other
                                  gas to increase thermal conduction. Helium
                                  also has a lower density than air at the same
                                  pressure so using helium in place of air would
                                  also reduce aerodynamic drag.
11. Cooling apparatus for         Adams, Woodard, Bimshas, Sibley, and
transferring heat from and        Jäger disclose a cooling apparatus for
cooling one or more heat          transferring heat from and cooling one or
generating components that        more heat generating components that support
support or drive a flywheel or    or drive a spinning member.
other spinning member; the
apparatus comprising:             Adams discloses a gyroscopic roll stabilizer
                                  for a boat including a flywheel. 10:31-35. A
                                  flywheel driven at very high tip speeds
                                  requires provision for cooling the flywheel
                                  bearings (heat generating components). 7:21-
                                  30.

                                  Woodard discloses a heat transferring device
                                  for energy generated by a heat producing
                                  device (e.g., a bearing that supports a shaft
                                  rotating a flywheel). Abstract; 1:42-45.

                                  Bimshas discloses a device to transfer heat
                                  from a heat source for applications of
                                  intergimbal assembly where the heat path is
                                  between relatively rotating gimbals. 1:22-32.

                                  Sibley discloses cooling fins to facilitate
                                  cooling of a bearing assembly 436 (heat
                                  generating component) in an energy storage
                                  flywheel. [0142-0143]; Fig. 4. The bearing
                                  assembly 436 facilitates rotation of a shaft
                                  416 and flywheel 412 about an axis. [0134].



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                                 Jäger discloses a cooling device for a rotating
                                 shaft (e.g., due to bearing friction). 4:4-11.

an enclosure enclosing the       Adams, Woodard, Bimshas and Jäger
spinning member, the enclosure   disclose that the enclosure can be filled with a
containing a gas at below-       gas that could be below-ambient density or
ambient pressure or below-       pressure.
ambient density,
                                 Adams discloses that enclosure 30 contains
                                 helium (a below ambient density gas) and is
                                 maintained at below-ambient pressure. 6:56-
                                 7:11.

                                 Woodard discloses that the flywheel energy
                                 storage system includes a main housing 602
                                 sealed to maintain gas pressure at a below
                                 predetermined level of vacuum. 19:24-28.

                                 Bimshas discloses that the gaps between
                                 interleaved fins may be filed with helium.
                                 2:31-36; 3:22-25. Helium is a below-ambient
                                 density gas.

                                 Jäger teaches that the casing surrounding the
                                 shaft may be filled with air or another gas.
                                 1:33-35. Helium is known to have a higher
                                 thermal conductivity than air, so it would be
                                 obvious to use helium as the other gas to
                                 increase thermal conduction which would
                                 result in the enclosure containing gas at
                                 below-ambient density.
wherein an axis of rotation      Adams, Sibley, Jäger, Bimshas, and
about which the spinning         Woodard disclose an axis of rotation about
member spins defines an axial    which the spinning member spins, which
direction;                       defines an axial direction.

                                 Adams discloses that the flywheel 16 spins
                                 around a spin axis. Abstract.


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                                   Woodard discloses that a flywheel mounted
                                   to a rotating shaft having an axis of rotation.
                                   4:9-18.

                                   Sibley discloses a flywheel 412 mounted to a
                                   rotating 416 having an axis of rotation.
                                   [0134].

                                   Jäger teaches a shaft 3 that rotates about an
                                   axis.

                                   Bimshas teaches that the members 10 and 14
                                   are relatively rotating, implicitly suggesting
                                   that the member 10 may rotate about an axis.
                                   2:27-36.


a first plurality of vanes         Bimshas, Sibley, and Jäger disclose a first
attached to the spinning member    set of fins or conductive members (vanes)
such that the first plurality of   connected to a heat generating element to
vanes spin with the spinning       conduct heat away from the heat generating
member relative to the             element. The first set of fins in these
enclosure,                         references are attached to a spinning member.

                                   Bimshas discloses a relatively rotating
                                   member 10 including a first set of fins 12 that
                                   attaches to a heat source, which can be
                                   rotating. 2:4-10; Figs. 1-2.

                                   Woodard discloses that heat transferring
                                   assembly 200 is constructed to allow axial,
                                   radial and angular movement between inner
                                   and outer members 202, 204 within an
                                   enclosure 608. 20:32-36; Figs. 6-7.

                                   Sibley discloses a first set of fins 438
                                   extending from rotating shaft 412. [0142];
                                   Fig. 4.


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                                      Jäger discloses a first set of fins 9 connected
                                      to a rotating shaft 3 to dissipate heat due to
                                      bearing friction. 2:51-3:15; Fig. 1.

wherein the first vanes are           Bimshas discloses that the first fins (vanes)
cylindrical elements extending        12 are cylindrical elements extending in a first
in a first direction substantially    direction substantially parallel to the axial
parallel to the axial direction;      direction. 2:17-18, 37-39.

a second plurality of vanes fixed     Bimshas, Sibley, and Jäger disclose a second
relative to the enclosure and the     set of fins (vanes) interleaved with the first set
spinning member such that the         of fins. The second set of fins in these
first vanes move with respect to      references is fixed relative to an enclosure or
the second vanes,                     housing.

                                      Bimshas discloses a second set of fins 16 that
                                      connect to a heat sink, which may be fixed.
                                      2:11-13; Figs. 1-2.

                                      Sibley discloses a second set of fins 440
                                      (“clam-shell type set of stationary heat
                                      transfer fins”) that first fins 438 fit into.
                                      [0142]; Fig. 4.

                                      Jäger discloses a second set of fins 12, 13
                                      connected to the housing 1. 3:16-45; 3:22-26;
                                      Fig. 1. The first set of fins 9 rotate relative to
                                      the second set of fins 12, 13.

wherein the second vanes are          Bimshas discloses that second set of fins 16
cylindrical elements extending        are cylindrical. 2:17-18, 37-39. As shown in
in a second direction                 Fig. 1, the fins 16 extend in a direction
substantially parallel to the axial   parallel to the axial direction and opposite the
direction and opposite the first      direction of the fins 12.
direction,

the second vanes defining             Bimshas, Sibley, and Jäger disclose the
cylindrical shaped channels into      second vanes defining cylindrical shaped
which the first vanes extend so       channels into which the first vanes extend so


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that the first and second vanes    that the first and second vanes are interleaved.
are interleaved; and
                                   Bimshas discloses that the second fins 16
                                   define cylindrical shaped channels into which
                                   the first fins 12 extend so that the fins 12 and
                                   fins 16 are interleaved. 2:13-16; Figs. 1, 4.

                                   The second set of fins 440 in Sibley define
                                   gaps to receive the first set of fins 438 such
                                   that the first and second sets of fins 438, 440
                                   are interleaved. [0142]; Fig. 4.

                                   In Jäger, fins 12, 13 define gaps to receive
                                   the fins 9 connected to the rotating shaft. Fins
                                   12, 13 are interleaved with fins 9. 3:16-30;
                                   Fig. 1.

wherein the first and second       Bimshas, Sibley, and Jäger all disclose fins
vanes are positioned in close      vanes that are closely spaced to permit heat
proximity to one another so that   transfer between the fins.
substantial heat is transferred
from the first vanes to the        Bimshas discloses that the gap between fins is
second vanes                       between .005 (.127 mm) to .007 (.178 mm)
                                   inches. 2:23-26. The gap is filled with a
                                   thermally efficient gas to improve gaseous
                                   conduction and convection. 3:22-24.

                                   Sibley discloses that the first and second fins
                                   are cooling fins that should fit together and
                                   are shown closely spaced in Fig. 4. [0142].
                                   The cooling fins are used to dissipate heat
                                   generated inside the vacuum enclosure to
                                   outside the vacuum enclosure. [0144]. Thus,
                                   heat is necessarily transferred from the first
                                   set of fins to the second set of fins.

                                   Jäger discloses a gap between fins of 0.1 –
                                   0.2 mm. 3:26-30. Heat is transferred across
                                   the gap from the first set of fins 9 to the


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                                   second set of fins 12, 13. 1:36-47.

and the second vanes are           Bimshas and Jäger disclose a heat transfer
configured such that that heat     path from the second set of fins (vanes) to the
can be readily transferred from    exterior of an enclosure or heat sink.
the second vanes to the exterior
of the enclosure.                  Bimshas provides a heat path from the fins 16
                                   to a heat sink (e.g., enclosure). 2:11-16.

                                   Sibley discloses that the cooling fins 438 and
                                   440 are used to dump heat generated inside
                                   the vacuum enclosure to outside the vacuum
                                   enclosure. [0144].

                                   Jäger discloses that the fins 12, 13 transfer
                                   heat by solid conduction to a liquid cooled
                                   sleeve 10 and then to the exterior of housing
                                   1. 1:36-41; 3:16-22.
12. The apparatus of claim         In Bimshas and Jäger, heat is inherently
11 wherein heat transfer           transferred between the first and second fins
between the first and second       (vanes) by gaseous conduction and gaseous
vanes occurs both by gaseous       convection. The close spacing of the fins
conduction and convection.         inherently enable heat transfer by gas
                                   conduction as well as convection.

                                   Bimshas discloses that the gap between fins is
                                   between .005-.007 inches (.127-.178 mm).
                                   2:23-26. Bimshas further discloses that a
                                   thermally efficient gas such as helium could
                                   be provided within the gaps. 3:22-24. Heat is
                                   implicitly transferred by gaseous conduction
                                   and gaseous convection.

                                   Jäger discloses a gap between fins of 0.1 –
                                   0.2 mm and that the space between these fins
                                   (cooling surfaces) is filled with air or another
                                   gas. 3:26-30. Heat is implicitly transferred
                                   by gaseous conduction and gaseous


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                                  convection. 1:36-47. Due to the Second Law
                                  of Thermodynamics, heat transfer by gaseous
                                  conduction and/or convection naturally occurs
                                  across a gaseous medium when there is a
                                  temperature differential. Exhibit 1003, ¶23.


13. The apparatus of claim        In Bimshas and Jäger, heat is inherently
12 wherein heat transfer          transferred between the first and second fins
between the first and second      (vanes) by gaseous conduction. In a partial
vanes is primarily by gaseous     vacuums under normal operating conditions
conduction.                       for a flywheel (e.g., low pressure, high speed),
                                  the heat transfer is primarily by gaseous
                                  conduction. Exhibit 1003, ¶39-41.

                                  Bimshas discloses that the gap between fins is
                                  between .005-.007 inches (.127-.178 mm).
                                  2:23-26. Bimshas further discloses that a
                                  thermally efficient gas such as helium is
                                  provided within the gaps to increase gaseous
                                  conduction and convection. 3:22-24.

                                  Jäger discloses a gap between fins of 0.1 –
                                  0.2 mm and that the space between these fins
                                  (cooling surfaces) is filled with air or another
                                  gas. 3:26-30.
14. The apparatus of claim        Bimshas, Sibley, and Jäger all disclose fins
12 wherein the first and second   that are closely space to permit heat transfer
vanes have closely spaced         by convection, conduction, and/or radiation.
exposed surfaces across which
heat is transferred.              Bimshas discloses that the gap between fins is
                                  between .005 (.127 mm) to .007 (.178 mm)
                                  inches. 2:23-26. Bimshas further discloses
                                  that a thermally efficient gas such as helium is
                                  provided within the gaps to increase gaseous
                                  conduction and convection. 3:22-24. Heat is
                                  implicitly transferred by gaseous conduction
                                  and gaseous convection.


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                                 Sibley shows that the cooling fins 428 and
                                 440 have closely spaced exposed surfaces,
                                 and that these fins are used to transfer heat.
                                 [0144]; Fig. 4. Heat is inherently transferred
                                 across the gap.

                                 Jäger discloses a gap between fins of 0.1 –
                                 0.2 mm. 3:26-30. Heat transfer between the
                                 fins is based on radiation and heat transfer
                                 through the gas, i.e., gaseous conduction and
                                 gaseous convection. 1:36-47. Adjusting the
                                 spacing between fins is a routine optimization
                                 task.


15. The apparatus of claim       Bimshas discloses that the gap between fins is
14 wherein the separation        between .005 (.127 mm) to .007 (.178 mm)
between the first vanes and      inches. 2:23-26.
second vanes is greater than
0.025 mm but less than 10 mm.    Jäger discloses a gap between fins of 0.1 –
                                 0.2 mm. 3:26-30.

16. The apparatus of claim       Adams and Woodard disclose that there is
11 wherein the gas is both       gas in the flywheel enclosure that is both
below-ambient pressure and       below-ambient pressure and below-ambient
below-ambient density.           density.

                                 Adams discloses that the gas in the enclosure
                                 is maintained at below ambient pressure and
                                 below ambient density to reduce aerodynamic
                                 drag. 6:57-7:11.

                                 Woodard’s PCT applications (incorporated
                                 by reference in Woodard) disclose that the
                                 flywheel energy storage can have hydrogen
                                 within the flywheel enclosure and pumps are
                                 used to effect the level of hydrogen gas to
                                 main a below-ambient pressure. 3:1-15; 6:23-


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                                    26; 31:4-10, 32-34.

                                    Bimshas discloses that the space between the
                                    fins may be filled with “a thermally efficient
                                    gas such as helium.” 3:22-24. Helium is a
                                    below-ambient density gas.

                                    Jäger states that the gap between the
                                    interleaved fins may be filled with air or
                                    another gas. Abstract. Helium is known to
                                    have a higher thermal conductivity than air, so
                                    it would be obvious to use helium as the other
                                    gas to increase thermal conduction which
                                    would result in the enclosure containing gas at
                                    below-ambient density.



17. The apparatus of claim          Adams discloses a gyroscopic roll stabilizer
11 wherein the spinning             for a boat including a flywheel. The flywheel,
member is a flywheel and the        enclosure and gimbal structure of the
flywheel and enclosure are part     stabilizer are configured so that when installed
of gyroscopic roll stabilizer for   in the boat the stabilizer damps roll motion of
a boat.                             the boat. Abstract; 6:9-18; 9:4-55; Figs. 1-3,
                                    8.

                                    Sibley discloses that the enclosure may be
                                    supported within gimbals or in soft
                                    elastomeric rings to deflect to minimize
                                    gyroscopic maneuvering loads on the bearings
                                    when the disclosed flywheel energy storage
                                    system is used in vehicular applications.
                                    [0164].

18. The apparatus of claim          Bimshas, Sibley, and Jäger disclose a heat
11 further comprising a heat        transfer path from the second set of fins
sink to which heat flows from       (vanes) to the exterior of an enclosure or heat
the second vanes.                   sink.



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                                   Bimshas teaches that the second fins 16
                                   transfer heat to a heat sink. 2:11-3.

                                   In Sibley, the enclosure 448, and the fins 452
                                   on the enclosure function as a heat sink.
                                   [0144]; Fig. 4.

                                   Jäger discloses that the fins 12, 13 transfer
                                   heat to a liquid cooled sleeve 10 and then to
                                   the exterior of housing 1. 1:36-41; 3:16-22.

19. The apparatus of claim         Sibley discloses air-cooled fins 452 on an
18 wherein the heat sink           exterior of the enclosure 448 functioning as a
comprises air-cooled fins on the   heat sink. [0144]; Fig. 4.
exterior of the enclosure.

20. The apparatus of claim         Bimshas discloses that the gap between fins is
11 wherein the gas has a           between .005 (.127 mm) to .007 (.178 mm)
molecular mean free path equal     inches. 2:23-26.
to or less than the distance
between the first and second       Jäger discloses gap between fins of 0.1 – 0.2
vanes.                             mm. 3:26-30.

                                   Under typical operating conditions for a
                                   flywheel device, the mean free path of air will
                                   EHEHWZHHQPP DWÛ&7RUU 
                                   DQGPP DWÛ&7RUU Exhibit
                                   1003, ¶42. These distances are both well
                                   below the typical spacing between fins.

                                   It is well-known that a mean free path greater
                                   than the distance between the fins reduces
                                   heat transfer by gaseous conduction so a
                                   PHOSITA. Exhibit 1003, ¶42.


21. The apparatus of claim         Adams, Bimshas, Woodard, and Jäger
11 wherein the gas has a higher    disclose use of a gas (e.g., helium or
thermal conductivity than air.     hydrogen) that has higher thermal



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                                 conductivity than air.

                                 Adams and Bimshas disclose that the
                                 enclosure may be filed with helium. Adams,
                                 6:62-64; Bimshas, 3:22-25.

                                 Woodard’s PCT (incorporated by reference)
                                 discloses that the enclosure may contain
                                 hydrogen. 31:4-10, 32-34. Hydrogen has a
                                 higher thermal conductivity than air. Exhibit
                                 1003, ¶16.

                                 Bimshas discloses that the space between the
                                 fins may be filled with “a thermally efficient
                                 gas such as helium.” 3:22-24. Helium has
                                 higher thermal conductivity than air.

                                 Jäger teaches that the space between the
                                 rotating surfaces may be filled with air or
                                 another gas. Helium is known to have a
                                 higher thermal conductivity than air, so it
                                 would be obvious to use helium as the other
                                 gas to increase thermal conduction. Helium
                                 also has a lower density than air at the same
                                 pressure so using helium in place of air would
                                 also reduce aerodynamic drag.

22. The apparatus of claim       Adams, Woodard, Bimshas, Sibley, and
11 wherein the heat generating   Jäger disclose that the heat generating
component comprises one or       component comprises one or more bearings.
more bearings.
                                 Adams discloses a flywheel driven at very
                                 high tip speeds requires provision for cooling
                                 the flywheel bearings. 7:21-30.

                                 Woodard discloses heat transferring devices
                                 to cool bearing assemblies. 4:9-12.

                                 Bimshas discloses a device to transfer heat


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                                 from a heat source to a relatively rotating
                                 heatsink. The heat source could be a ball
                                 bearing or motor.

                                 Sibley discloses cooling fins to facilitate
                                 cooling of a motor (e.g., motor 414) and
                                 bearings (e.g., bearing assembly 436). [0026],
                                 [0133], [0143].

                                 Jäger discloses that the disclosed cooling
                                 device is applicable to bearings. 4:25-32.

23. The apparatus of claim       Adams, Woodard, Sibley, and Jäger
11 wherein the heat generating   disclose the heat generating component
component comprises one or       comprises one or more electrical motors.
more electrical motors.
                                 Adams discloses a flywheel drive motor that
                                 spins a flywheel about a spin axis. Abstract.

                                 Woodard discloses that the heat generating
                                 component comprises a motor of the flywheel
                                 storage system. 4:9-12.

                                 Bimshas discloses a device to transfer heat
                                 from a heat source to a relatively rotating
                                 heatsink. The heat source could be a ball
                                 bearing or motor.

                                 Sibley cooling fins to facilitate cooling of a
                                 motor (e.g., motor 414) and bearings (e.g.,
                                 bearing assembly 436). [0026], [0133],
                                 [0143].




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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true copy of the foregoing

PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 7,546,782 and

supporting materials (Exhibits 1001-1041) has been served in its entirety this 25

day of August 2017, by EXPRESS MAIL® on the Patent Owner at the

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                      CERTIFICATE OF WORD COUNT
                  FOR INTER PARTES REVIEW PETITION


      Pursuant to 37 C.F.R. § 42.24(d), I certify that on August 10, 2017 I

reviewed the word count associated with the Inter Partes Review Petition being

filed by the Petitioner on August 25, 2017. The word count of the Petition,

excluding the table of contents, mandatory notices under § 42.8, certificate of

service, certificate of word count and appendices of claims and exhibits, is 13,945

words.

                                       RESPECTFULLY SUBMITTED,
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